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                           EXHIBIT 1
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                                                                      EXHIBIT 1

                                      KOHLMANN                                                         LEVITT                       LEVITT
        BASIS FOR                                                    KOHLMANN
                                     AFFIRMATIVE                                                    AFFIRMATIVE                    REBUTTAL
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1
  Attached hereto at Exhibit A is a numbered paragraph version of Levitt’s Affirmative Report. Numbers were added to the margin next to each paragraph for ease
of reference only.
2
  Attached hereto at Exhibit B is a numbered paragraph version of Levitt’s Rebuttal Report. Numbers were added to the margin next to each paragraph for ease of
reference only.

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                     KOHLMANN                                                 LEVITT                 LEVITT
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                           EXHIBIT A
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                               EXPERT REPORT OF DR. MATTHEW LEVITT

               In re Terrorist Attacks on September 11, 2001, 03-md-1570 (GDB) (SN) - MDL 1570
            Senior Fellow and Director of the Program on Counterterrorism & Intelligence at the
          Washington Institute for Near East Policy, and Adjunct Professor at Georgetown University

           I. SCOPE OF THIS EXPERT OPINION:
    1            I have been asked by Plaintiff’s lawyers to offer an expert opinion on the following:

           1.1      x       The founding and development of al Qaeda, its ideology and focus on
                            targeting America and American interests;
           1.2      x       Al Qaeda’s development as a terrorist group and militant organization through
                            the establishment of alliances with other groups and cooption of local
                            conflicts;
           1.3      x       Al Qaeda’s radicalization, recruitment and funding modus operandi in the
                            years leading up to the 9/11 attacks;
           1.4      x       Background on abuse of charity and religious tithing to finance terrorism;
           1.5      x       Al Qaeda’s particular reliance in the years leading up to the 9/11 attacks on
                            abuse of charity and nongovernmental organizations (NGOs)—including
                            several based in Saudi-Arabia—for recruitment, logistics, and fundraising
                            purposes.

           II. SUMMARY EXPERT OPINION:

2
               Based on my knowledge, experience, training and education, and drawing on my own
        extensive research, it is my expert opinion that:

           2.1      x   In the years leading up to the 9/11 terrorist attacks, Osama bin Laden founded and
                        built up al Qaeda into a transnational terrorist group engaged in both militant and
                        terrorist activities around the world.

           2.2      x   Key to al Qaeda’s success was its ability to coopt local conflicts involving Muslim
                        groups and to expand its influence through building alliances with other Muslim
                        militant organizations.

           2.3      x   Through these efforts, al Qaeda was able to broaden its pool of potential recruits,
                        radicalize people to the terrorist group’s violent and transnational ideology and its
                        particular focus on targeting the United States, raise funds, and conduct operations
                        on a broad scale around the world.

           2.4      x   Critical to the success of al Qaeda, and for the 9/11 operation in particular, was the
                        ability to raise, launder, place, transfer and access funds for al Qaeda’s activities.
                        From paying salaries, to bribing officials, to funding travel and training, to
                        procuring weapons and much more, al Qaeda needed reliable funding streams to
                        cover its significant expenses.
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        2.5    x   Especially in the years leading up to 9/11, al Qaeda relied heavily on abuse of
                   charity to raise, launder and move money for its terrorist purposes.

        2.6    x   Some of the most significant examples of such charities were based in Saudi Arabia
                   and were tied to the Saudi government and its ministries and instrumentalities. The
                   support these entities provided al Qaeda was critical to the terrorist group’s
                   development and operational prowess

       III. QUALIFICATIONS

3           My qualifications as a noted expert in international terrorism, with a focus on Middle
    East terrorist groups and particular expertise in their logistical and financial support networks,
    are based on a multidisciplinary combination of my academic education, professional training
    and experience, details of which are included in my C.V. which is attached here as Exhibit A.

4            I am a United States citizen, residing in the Washington, D.C. area. I hold both a
    Masters of Law and Diplomacy (MALD) and a Ph.D. in International Relations from The
    Fletcher School of Law and Diplomacy at Tufts University. The Fletcher School, a member of
    the Association of Professional Schools of International Affairs and one of the preeminent
    graduate programs in international affairs in the United States, is renowned for its
    interdisciplinary curriculum and approach to international studies. I also hold a B.A. cum laude
    in Political Science from Yeshiva University.

5          My Master’s degree included concentrations in Conflict Resolution, International
    Security Studies, and the Middle East. My doctoral dissertation entitled “The Impact of Acute
    Security Crises on the Process of Ongoing Negotiations,” examines the impact of terrorism on
    the Arab-Israeli peace process. The dissertation examines acts of terrorism carried out by both
    Islamic and Jewish terrorists. I was awarded several fellowships and grants in support of this
    research, including a graduate research fellowship from the Program on Negotiation at Harvard
    Law School.

6            Prior to joining the Washington Institute, I served as a counterterrorism intelligence
    analyst with the Federal Bureau of Investigation (FBI) providing tactical and strategic analysis in
    support of counterterrorism operations. There I developed a special focus on fundraising and
    logistical support networks for Middle East terrorist groups. In addition, I participated as a team
    member in a number of crisis situations, including the terrorist threat surrounding the turn of the
    millennium and the September 11 attacks. I led the analytical team focused on flight UA175 as
    part of the FBI’s PENTTBOM investigation into the attacks of September 11. In my official
    capacity as a U.S. government intelligence analyst, I researched and analyzed trends and patterns
    of international terrorist groups, produced written products and oral presentations for FBI
    management, FBI field agents and other agencies, and liaised with U.S. intelligence community
    counterparts,
        2.4       other U.S. government agencies, and foreign services. I received extensive training
    and developed particular expertise in the analysis of material collected through investigations
    and the synthesis and further analysis of this material together with other sources of information
    provided by other agencies, open source information, and more. I earned three letters of
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     commendation for my analytical contributions to FBI counterterrorism operations, as well as five
     awards in recognition of superior service rendered to the FBI.
7             In November 2001 I joined The Washington Institute for Near East Policy as a Senior
     Fellow in Terrorism Studies. Founded in 1985, The Washington Institute seeks to “advance a
     balanced and realistic understanding of American interests in the Middle East” by bringing
     “scholarship to bear on the making of U.S. policy in this vital region of the world.” The
     Institute’s Board of Advisors includes several former Secretaries of State, a former Director of
     Central Intelligence, and other former senior government officials and diplomats. The
     Washington Institute holds annual conferences and periodic policy forums, hosts blue-ribbon
     presidential study groups, and publishes scholarly research.

8             In 2003, I briefly served as a part-time consultant to the National Commission on
     Terrorist Attacks Upon the United States (the 9/11 Commission). I consulted for the
     Commission’s “al Qaeda and other transnational threats” team, advising the team on the
     direction and strategy of its investigation. The term of my contract with the 9/11 Commission
     ended in or around August 2003.

9             From November 2005 through January 2007 I served as Deputy Assistant Secretary for
     Intelligence and Analysis in the United States Department of the Treasury. In that capacity, I
     served both as a senior official within the department’s terrorism and financial intelligence
     branch and as deputy chief of the Office of Intelligence and Analysis, one of sixteen U.S.
     intelligence agencies coordinated under the Office of the Director of National Intelligence.
     During my tenure at Treasury, I was at the center of the government’s efforts to protect the U.S.
     financial system from abuse and to deny terrorists, weapons proliferators, and other rogue actors
     the ability to finance threats to U.S. national security. In recognition of exceptional service to the
     department, in January 2007 I was awarded the Treasury Department’s “Exceptional Service
     Award.”

10          In 2008-2009 I served as an advisor on counterterrorism and intelligence for the U.S.
     State Department’s Special Envoy Middle East Regional Security (SEMERS) whose mission
     was to help achieve the Secretary of State’s vision of resolving the Israeli-Palestinian conflict
     through two states living side by side in peace and security.

11          In February 2007 I returned to the Washington Institute, where I am a Senior Fellow and
     Director of the since renamed Reinhard Program on Counterterrorism and Intelligence. In this
     capacity, I write frequent policy briefs and articles on issues relating to terrorism and U.S. policy
     and am frequently sought after as an analyst and commentator on terrorism issues for major
     media outlets.

12            I am an adjunct professor at Georgetown University’s Edmund A. Walsh School of
     Foreign Service. I have also taught as a Professorial Lecturer in International Relations and
     Strategic Studies at Johns Hopkins University’s School of Advanced International Studies
     (SAIS). Along with a collection of journal articles and edited volumes, I am also the author of
     Targeting Terror (Washington Institute, 2002), Hamas: Politics, Charity and Terrorism in the
     Service of Jihad (Yale University Press, 2006), Negotiating under Fire: Preserving Peace Talks
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     in the Face of Terror Attacks (Rowman & Littlefield, 2008) and Hezbollah: The Global
     Footprint of Lebanon’s Party of God (Georgetown University Press, 2013). My latest edited
     monographs on international terrorism include Countering Violent Extremism: From the Boston
     Marathon to the Islamic State (April 2015) and The Rise of ISIL (September 2016).
13           As a practitioner and academic, I have developed particular expertise on terrorist
     financing, countering violent extremist ideology, and trans-national Jihadist terrorism, with a
     particular focus on al Qaeda and its affiliate and successor groups, including the Islamic State.
     This expertise is evident from my professional experience working on these issues, my academic
     experience lecturing and teaching about them, as well as the many publications I have written on
     these subjects, from newspaper editorials and peer reviewed journal articles to Congressional and
     court testimonies, and more.
14           I have lectured on terrorism, counterterrorism, and state sponsorship of terrorism
     (including Syrian state sponsorship) around the world, for government, multilateral organization,
     university, think tank and private sector audiences and have received awards and accolades for
     these presentations from departments and agencies such as the Federal Bureau of Investigation,
     the U.S. Secret Service, and the International Institute for Justice and the Rule of Law. I have
     participated in United Nations, Global Counterterrorism Forum, Europol, and many other
     international gatherings on these issues, and meet and consult with government officials and
     experts in the field from around the world.

15            At the Washington Institute my work includes the study of Middle Eastern terrorist
     groups, front organizations and state sponsors, the logistical and financial support networks that
     facilitate their activities, and the extremist and militant ideologies that drive their recruitment and
     radicalization efforts. In my efforts to study and understand terrorism and militant Islamist
     ideology I interview experts, officials, academics and others with insight into these issues, both
     in the United States and around the world. I engage in private, personal meetings, public
     conferences, group discussions, and talks that are both on and off the record. I travel to the
     Middle East regularly, including trips to the Palestinian territories, Israel, Jordan, Egypt, Bahrain,
     Kuwait, Qatar, the UAE, Saudi Arabia, and Turkey. I also attend conferences and academic and
     professional lectures, and read books, newspapers, academic and policy journals, and research
     these materials on the internet (including the websites, video and audio clips and images on sites
     geared towards counterterrorism and those of terrorist groups and their sympathizers as well).
16           These are the standard sources and methods in the academic and policy communities for
     developing the kind of specialized knowledge and expertise I have accumulated—and for which
     I have been awarded and commended—in my field. Indeed, the United States Court of Appeals
     for the Sixth Circuit has described my research methodology as “the gold standard.”1 And, in a
     watershed ruling upholding the constitutionality of the material support statute §2339B, the
     Supreme Court of the United States cited my work twice to support its position.2

     1
       See Sixth Circuit Court of Appeals ruling in United States v. Damrah, 412 F.3d 618, 625 (6th Cir. 2005).
     http://ftp.resource.org/courts.gov/c/F3/412/412.F3d.618.04-4216.html.
     2
       See SCOTUS opinion in Holder v. Humanitarian Law Project, 130 S. Ct. 2705, 2725 (2010).
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17           In addition to my work at the Institute, I use my specialized expertise to teach and
     consult, for both the U.S. and other governments and private sector firms. I was a member of the
     Council on Foreign Relations’ task force on terrorist financing, and am a member of the
     international advisory boards for the Institute for Counter-terrorism (ICT) in Israel, the
     International Centre for Political Violence & Terrorism Research (ICPVTR) in Singapore. I
     served as a CTC Fellow at the Combating Terrorism Center (CTC) at U.S. Military Academy
     (West Point), a senior fellow at The George Washington University’s Homeland Security Policy
     Institute, a member of the academic advisory board for the Emirates Center for Strategic Studies
     and Research (ECSSR), and am a life member of The Council on Foreign Relations.
18           The awards and honors I have received in my field include:


           18.1      x   U.S. Embassy Expert Speaker Grant, U.S. Embassy Berlin, May 2019
           18.2      x   Certificate of Appreciation, United States Secret Service, 2015
                     x   Certificate of Recognition, U.S. Departments of Justice and State and the
           18.3
                         International Institute for Justice and the Rule of Law, October 2015
           18.4      x   U.S. Marine Corps Forces Cyber Command, Letter of Appreciation, April 3,
                         2013

           18.5      x   Certificate of Appreciation, Federal Bureau of Investigation, March 2013
           18.6      x   Exceptional Service Award, U.S. Department of the Treasury, January 2007;
           18.7      x   Certificate of Appreciation, United States Central Command Directorate of
                         Intelligence, February 2006;
           18.8      x   Selected by CNN as one of “The 2005 New Guard: Washington’s Next
                         Generation of Newsmakers,” April 2005;
           18.9      x   European Union Visitors Program (EUVP), 2005;
          18.10      x   Visiting Scholar, Security Studies Department, the Paul H. Nitze School of
                         Advanced International Studies (SAIS), Johns Hopkins University, March
                         2003;
          18.11      x   U.S. Department of State Speaker and Specialist Grant (2), April 2002 (lectures
                         in Lithuania), and January 2003 (lectures in Austria);
          18.12      x   Letters of Commendation from Deputy Assistant Director (3), Federal Bureau
                         of Investigation, July 2000, August 2000, July 2001;
          18.13      x   Performance Awards (2), Federal Bureau of Investigation, December 1999,
                         November 2000;
          18.14      x   Special Act or Service Award, Federal Bureau of Investigation, September
                         1999;


     http://www.supremecourt.gov/opinions/09pdf/08-1498.pdf.
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         18.15      x   Graduate Research Fellow, The Program On Negotiation at Harvard Law
                        School, 1997-1998;
         18.16      x   International Security Studies Fellow, International Security Studies Ph.D.
                        Dissertation Fellowship, the Fletcher School of Law and Diplomacy, 1996-
                        1997;
         18.17      x   International Security Studies Program Graduate Student Research Grant on the
                        Emerging Issues of Ethnic, Sectarian, and Religious Conflict, William H.
                        Donner Foundation, 1996;
         18.18      x   Doctoral Scholarship, the Fletcher School of Law and Diplomacy, 1995-1996;
         18.19      x   Sarah Scaife Frank Rockwell Barnett Memorial Grant in International Security
                        Studies, The Fletcher School of Law and Diplomacy, 1994 and 1996
19           I am frequently called upon to testify before the United States Senate and House of
     Representatives as an expert on international terrorism, and have also testified before the
     Canadian Parliament, the European Parliament of the European Union, and the Counter-
     Terrorism Committee of the United Nations Security Council. I have been qualified as an expert
     witness and provided expert testimony in many U.S. federal court proceedings and have testified
     as an expert in several terrorism-related immigration cases in the U.S. and Canada, as well as in
     terrorism-related cases in France, Denmark and Scotland. Many of these cases involved al Qaeda
     and/or the Islamic State group. A list of these cases is included in my C.V.
20            I have been compensated for my time at a rate of $550.00 per hour. Attached as Exhibit
     A please find a copy of my C.V., and as Exhibit B a list of materials I relied on in the preparation
     of this expert report.

        IV.      EXPERT OPINIONS


        1. Al-Qaeda Background

21           Al Qaeda is an infamous Jihadist terrorist group that utilizes terrorism to achieve its aims.
     Founded in Afghanistan in the 1980s, it is a fundamentalist Sunni movement that leverages a
     violent, extremist ideology to promote terrorism and political violence, and which operates
     globally as a multinational network. Although originally founded to facilitate the movement of
     Islamist fighters to Afghanistan as the Afghan Services Bureau, or Makhtab al Khidamat (MEK),
     al Qaeda became an Islamist army that would last far beyond the war in Afghanistan.
22           The name al Qaeda translates to “the base.” In a videotaped interview with al-Jazeera in
     October 2001, Usama bin Ladin explained its origin: “The name ‘al-Qaeda’ was established a
     long time ago by mere chance. The late Abu Ebeida El-Banashiri established the training camps
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     for our mujahedeen against Russia’s terrorism. We used to call the training camp al-Qaeda. The
     name stayed.”3


23          According to the indictment of several al Qaeda members for their involvement in the
     1998 East Africa bombings, al Qaeda grew out of the Maktab al-Khadimat organization, which
     was founded by al Qaeda leader Usama bin Ladin and Muhammed Atef, aka Abu Hafs al-Masri.4
     According to Gunaratna, “prior to its formation, however, al Qaeda existed as Maktab-il
     Khidamat (MAK – Afghan Service Bureau) for four years.”5 Describing “the rise of Bin Laden
     and al-Qaeda” in the period from 1988 to 1992, the 9/11 Commission Report noted the
     following:
             Mosques, schools, and boardinghouses served as recruiting stations in parts of the world, including
             the United States. Some were set up by Islamic extremists or their financial backers. Bin Laden
             had an important part in this activity. He and the cleric Azzam had joined in creating a “Bureau of
             Services” (Mektab al Khidmat, or MAK), which channeled recruits into Afghanistan.6


24           From 1989 until roughly 1991, al Qaeda was headquartered in Afghanistan and Pakistan,
     before the relocating to Sudan. Al Qaeda’s headquarters resided in Sudan until 1996. Bin Ladin
     moved to Sudan in 1989, when the National Islamic Front (NIF) came to power there, “and
     sought to establish a world-wide Islamic extremist network.”7 According to Rohan Gunaratna,
     “Al Qaeda’s global network, as we know it today, was created while it was based in Khartoum,
     from December 1991 until May 1996. To coordinate its overt and covert operations as Al
     Qaeda’s ambitions and resources increased, it developed a decentralized, regional structure…As
     a global [entity], al Qaeda makes its constituent nationalities and ethnic groups, of which there
     are several dozen, responsible for a particular geographic region. Although its modus operandi is
     cellular, familial relationships play a key role.”8

25          In the years after his move to Sudan, Bin Ladin’s Islamic Army (al Qaeda) grew. “The
     NIF and the government of Sudan provided a receptive environment and personnel in support of
     Islamic Army activities,” the CIA assessed in 1996. “In return, Bin Ladin provided

     3
       “Transcript of Bin Laden's October interview,” CNN, February 5, 2002,
     http://archives.cnn.com/2002/WORLD/asiapcf/south/02/05/binladen.transcript/index.html
     4
       US District Court, Southern District of New York, U.S. v. Usama bin Laden, et al. Available online at
     http://cns.miis.edu/pubs/reports/pdfs/binladen/indict.pdf.
     5
       Rohan Gunaratna, “The Evolution of al Qaeda,” in Thomas J. Biersteker and Sue E. Eckert, Eds., Countering the
     Financing of Terrorism (New York: Routledge, 2008), 50.
     6
       The 9/11 Commission Report, authorized edition (New York: Norton, 2004), 56-57, available online at
     http://www.9-11commission.gov/report/911Report.pdf.
     7
       CIA Cable Nov 26, 1996, approved for release September 18, 2018, Marked C01164985, provided by Plaintiff’s
     counsel.
     8
       Rohan Gunaratna, Inside Al Qaeda (1st ed.). (London, UK: C. Hurst & Co, 2002), 95-96.
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     infrastructure, [redacted] within this cooperative setting, Bin Ladin further defined the Koranic
     basis for the Islamic Army and its intent to use violence as a means to achieve Islamic goals.”9


26           According to the CIA, “while based in Sudan form 1992-1996, al Qaeda was transformed
     from an only partially realized idea to an international organization ready to operate on its own.”
     It developed ties to other extremists groups, learned how to build and run training camps, and
     developed the contacts and skill sets necessary to build up a set of training camps and safe haven
     when the group returned to Afghanistan in 1996.10 The CIA described al Qaeda’s experience in
     Sudan as a “terrorist university,” during which time it defined its formal structure and became a
     “self-sufficient international terrorist organization.”11 In Sudan, al Qaeda “established
     cooperative relationships with at least 20 Sunni Islamic extremist groups in the Middle East,
     South Asia, Africa, and East Asia, as well as with elements of the Saudi opposition.”12
27           According to a since-declassified CIA memorandum dated December 4, 1998, even after
     Bin Laden left Sudan for Afghanistan, al Qaeda associates remained in Sudan and continued
     supporting al Qaeda terrorism in much the same way they did leading up to the East Africa
     embassy bombings. In the context of reporting possible anti-U.S. attacks, the memorandum
     notes that “a Bin Laden associate in Sudan late last month told a colleague in Kandahar that he
     had shipped a group of containers to Afghanistan. Bin Ladin associates also talked about the
     movement of containers to Afghanistan before the East Africa bombings.”13 According to the
     indictment, “At all relevant times, al Qaeda was led by its emir, defendant Usama bin Laden.
     Members of al Qaeda pledged an oath of allegiance (called a “bayat”) to defend Usama bin
     Laden and al Qaeda.”14
28          While Osama Bin Laden would later claim that he had already pinpointed America as his
     ultimate enemy while fighting the USSR, his immediate goal, he articulated, would be to topple


     9
       CIA Cable Nov 26, 1996, approved for release September 18, 2018, Marked C01164985, provided by Plaintiff’s
     counsel.
     10
        “Al-Qa’ida in Sudan, 1992-1996: Old School Ties Lead Down Dangerous Paths,” Central Intelligence Agency,
     Directorate of Intelligence, 10 March 2003, (approved for release November 19, 2018), provided by Plaintiff’s
     counsel.
     11
        “Al-Qa’ida in Sudan, 1992-1996: Old School Ties Lead Down Dangerous Paths,” Central Intelligence Agency,
     Directorate of Intelligence, 10 March 2003, (approved for release November 19, 2018), provided by Plaintiff’s
     counsel.
     12
        “Al-Qa’ida in Sudan, 1992-1996: Old School Ties Lead Down Dangerous Paths,” Central Intelligence Agency,
     Directorate of Intelligence, 10 March 2003, (approved for release November 19, 2018), provided by Plaintiff’s
     counsel.
     13
        “SUBJECT: Bin Ladin Preparing To Hijack US Aircraft and Other Attacks,” Memorandum prepared by
     [REDACTED] of the DI Counterterrorist Center, 4 December 1998, Declassified and Approved for Release 12 July
     2004, http://www.foia.cia.gov/.
     14
        US District Court, Southern District of New York, U.S. v. Usama bin Laden, et al. Available online at
     http://cns.miis.edu/pubs/reports/pdfs/binladen/indict.pdf
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     existing Muslim governments and establish a new caliphate.15 In this vein, Al Qaeda opposes the
     United States, which it considers to be an enemy for supporting insufficiently Islamic
     governments in around the world. Al Qaeda views U.S. military action in Iraq and Kuwait during
     the first Gulf War and in operations in Somalia as an “occupation” of Muslim nations. The
     presence of the U.S. military in countries such as Bin Ladin’s home country of Saudi Arabia is
     also viewed as “occupation.” According to the federal indictment in U.S. v. Usama bin Laden et
     al., one of al Qaeda’s primary goals is to force U.S. military presence from Saudi Arabia—in
     addition to other places in the Middle East and Africa—by means of violence. The terrorist
     organization also opposes the U.S. for its arrest, imprisonment, and indictment of al Qaeda
     members.16

29          To promote the group’s objectives, members have issued religious edicts, or fatwas,
     which justify the use of violence. In 1996, al Qaeda announced its jihad to expel foreign troops
     from “Islamic lands.” Bin Ladin issued a 1996 fatwa which, effectively, was a public declaration
     of war against the U.S. and its allies.17 In 1997, the CIA reported that Islamic Army (i.e. al
     Qaeda) sent operatives, with National Islamic Front support, to target U.S. troops in Somalia.18
     In February 1998, Bin Ladin, Ayman Zawahiri, Bin Laden’s successor and former leader of the
     Egyptian Islamic Jihad, and three other Islamist leaders co-issued a fatwa stating that:
             [T]he ruling to kill the Americans and their allies—civilian and military—is an individual duty for
             every Muslim who can do it in any country in which it is possible to do it, in order to liberate the
             al-Aqsa mosque and the holy mosque from their grip, and in order for their armies to move out of
             all the lands of Islam, defeated and unable to threaten any Muslim. This is in accordance with the
             words of Almighty Allah, and ‘fight the pagans all together as they fight you all together,’ and
             ‘fight them until there is no more tumult or oppression, and there prevail justice and faith in Allah.19

30           Bin Laden aimed to create an “international jihad confederation,” as the 9/11
     Commission put it, coordinating a “consortium of terrorist groups with which he was forging
     alliances.”20 These included groups from Saudi Arabia, Egypt, Jordan, Lebanon, Iraq, Oman,
     Algeria, Libya, Tunisia, Morocco, Somalia, and Eritrea. Al Qaeda invested in the Abu Sayyaf
     group in the Philippines, Jemaah Islamiya in Indonesia, Lashkar e-Tayba in Pakistan, and others.
     Less formal relationships were established with more extremist groups, including groups in


     15
        Daniel Benjamin and Steven Simon, The Age of Sacred Terror (New York: Random House, 2002), 103.
     16
        US District Court, Southern District of New York, U.S. v. Usama bin Laden, et al. Available online at
     http://cns.miis.edu/pubs/reports/pdfs/binladen/indict.pdf
     17
        “Bin Laden’s Fatwa,” Al Quds Al Arabi, August 1996,
     http://www.pbs.org/newshour/terrorism/international/fatwa_1996.html.
     18
        CIA Cable dated April 30, 1997 (approved for release September 18, 2018), Document marked C01164992,
     Provided by Plaintiff’s counsel.
     19
        “Text of Fatwah Urging Jihad against Americans,” PBS,
     http://www.pbs.org/newshour/terrorism/international/fatwa_1998.html.
     20
        The 9/11 Commission Report, authorized edition (New York: Norton, 2004), 58, http://www.9-
     11commission.gov/report/911Report.pdf.
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     Chad, Mali, Niger, Nigeria, and Uganda in Africa and Burma, Thailand, Malaysia, and
     Indonesia.21
31           The CIA noted in early 1999 that “al-Qa’ida’s wide network in some 60 countries, as
     well as its ties to like-minded groups, enables it to conduct more than one major terrorist
     operation simultaneously and adapt readily to change.” The group, the report continued,
     “develops relationships with sympathetic groups and individuals through its own religious,
     military, and terrorist training programs in Afghanistan, assistance to Islamic insurgent
     movements in various countries, and exploitation of contacts in certain Islamic relief
     organizations.”22

32            Al Qaeda developed a strategy of expansion through building alliances with likeminded
     militant groups around the world. This strategy enabled the group to spot new recruits, raise
     funds, export its ideology, gain military and terrorist experience fighting in other conflict zones,
     and develop the interpersonal relationships that would prove critical to the development of a
     truly transnational terrorist organization. Al Qaeda would coopt far-flung conflicts and local
     grievances and superimpose its own worldview and ideology on them, bringing al Qaeda’s view
     of the world to conflicts in Africa and Asia. Some of these local groups were fully absorbed into
     al Qaeda’s larger structure over time, such as Jemaah Islamiyah in Indonesia and the Algerian
     Armed Islamic Group (GIA).23

33           Consider the CIA’s assessment of the impact of increased fighting in Chechnya in 1999
     on the al Qaeda network: “The network also has benefited from a sharp increase in mujahidin
     recruitment since the resumption of the conflict in Chechnya in 1999, which exposed a new
     generation of militants to terrorist techniques and extremist ideology through training at al-
     Qaeda-run camps in Afghanistan.”24 Indeed, in another report the CIA noted how some al Qaeda
     foreign fighters went home, while others traveled to other battlefronts: “Militants who received
     training [in Afghanistan] were sent to fight jihads in Kashmir, Chechnya, or Bosnia. When they
     returned to their homes to resume their normal lives or migrate to other countries, they




     21
        The 9/11 Commission Report, authorized edition (New York: Norton, 2004), 58, http://www.9-
     11commission.gov/report/911Report.pdf.
     22
        “How Bin Ladin Commands a Global Terrorist Network,” DCI Counterterrorism Center, Intelligence Report, 27
     January 1999 (approved for release 25 April 2012), available online at National Security Archive
     https://assets.documentcloud.org/documents/368944/1999-01-27-how-bin-ladin-commands-a-global.pdf.
     23
        Zachary Abuza, Militant Islam in Southeast Asia: Crucible of Terror (Boulder: Lynne Rienner, 2003), 9.
     24
        “Sunni Terrorist Threat Growing,” Senior Executive Intelligence Brief 6 February 2001, Central Intelligence
     Agency (approved for release 25 April 2012, available online via National Security Archive
     https://assets.documentcloud.org/documents/368971/2001-02-06-sunni-terrorist-threat-growing-senior.pdf.
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     constituted a ready supply of manpower for terrorist operations. Two of the 9/11 hijackers
     followed this pattern.”25

34           As Zachary Abuza noted in his book on al Qaeda’s networks in Southeast Asia, the
     region became a “major center for operations” for al Qaeda for several reasons. One of these was
     “the network of Islamic charities, the spread of poorly regulated Islamic banks, business-friendly
     environments, and economies that already had records of extensive money laundering.”26

35           Similarly, Stig Jarle Hansen noted in his book on al-Shabaab in Somalia that “al-Shabaab
     is more than a product of insecurity; it is also a product of the export of al-Qaeda’s ideology into
     Somalia. The importance of international informal networks in this process should not be
     forgotten.” He continued, “It was a network of former Afghanistan veterans that established al-
     Shabaab, and the diffusion of ideas has gone through individuals with al-Qaeda connections.”27

36           Barak Mendelsohn explained al Qaeda’s early decision to help Muslims struggling
     around the world by “carry[ing] the torch of jihad beyond the Afghan arena.” According to
     Mendelsohn, al Qaeda’s existence would “help overcome the inefficiencies involved in
     mobilizing mujahideen afresh for each new cause. With al-Qaeda, the umma [Muslim nation]
     would bear minimal start-up costs; it would have the infrastructure and core force to allow an
     efficient and quick reaction.”28

37           In 1994, Khalid Sheikh Mohammad, who would later mastermind the 9/11 plot, travelled
     to the Philippines and planned to bomb twelve U.S.-bound civilian aircraft as they flew across
     the Pacific. Known as the “Bojinka” plot, the operation was thwarted when Mohammad’s co-
     conspirator and nephew, Ramzi Yousef, was arrested in Pakistan in February 1995. During his
     time in the Philippines, Mohammed reportedly received funding through Jamal Khalifa, bin
     Laden’s brother-in-law and head of the Manila office of the International Islamic Relief
     Organization (IIRO).29 According to a 1996 CIA report, “The IIRO is affiliated with the Muslim
     World League, a major international organization largely financed by the government of Saudi




     25
        “DCI Report: The Rise of UBL and Al-Qa’ida and the Intelligence Community Response,” Draft, CIA Analytic
     Report, March 19, 2004, available at National Security Archive
     https://assets.documentcloud.org/documents/368992/2004-03-19-dci-report-the-rise-of-ubl-and-al.pdf.
     26
        Zachary Abuza, Militant Islam in Southeast Asia: Crucible of Terror (Boulder: Lynne Rienner, 2003), 10.
     27
        Stig Jarle Hansen, Al-Shabaab in Somalia: The History and Ideology of a Militant Islamist Group (Oxford:
     Oxford University Press, 2016), 6.
     28
        Barak Mendelsohn, The Al-Qaeda Franchise: The Expansion of al-Qaeda and Its Consequences (Oxford: Oxford
     University Press, 2016), 20.
     29
        The 9/11 Commission Report, authorized edition (New York: Norton, 2004), 147-148, http://www.9-
     11commission.gov/report/911Report.pdf. See also Richard Miniter, Mastermind: The Many Faces of the 9/11
     Architect, Khalid Shaik Mohammed (New York: Sentinel, 2011), 83-84; Steve Coll, Ghost Wars (New York:
     Penguin Books, 2004), 278-279.
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     Arabia.”30 The report went on to tie the IIRO to Ramzi Yousef and a host of other terrorists and
     terrorist groups.31
38           In August 1996, Bin Laden and leaders of several other Islamist extremist groups issued a
     fatwa, or religious ruling, which he called his “Declaration of War,” calling for attacks against
     Western military targets in the Arabian Peninsula. Bin Laden underscored this message in media
     interviews. Then in February 1998—six months before the East Africa Embassy bombings—he
     issued another fatwa calling for attacks on all Americans, including civilians, and announced the
     formation of the International Islamic Front for Jihad against the Jews and Crusaders.32 If not
     before, then certainly by 1996, Bin Laden and al Qaeda’s links to terrorism were publicly known
     and verifiable.
39           Since Bin Laden was killed by U.S. forces in Pakistan in 2011, al Qaeda has been headed
     by Ayman al Zawahiri, the emir and chief of operations. The Majlis al-Shura, or consultation
     council, approves major operations, activities and undertakings. Additionally, al Qaeda has a
     military committee, which is charged with all “military” matters, including training and arming
     al Qaeda members and planning military operations.33
40           Al Qaeda has attacked both civilian and military targets in various countries in order to
     achieve its aims. Characteristics of the group’s actions and techniques include suicide attacks and
     simultaneous bombings of dual targets.34 Al Qaeda’s operations are often carried out by core
     members of the group, but also involve al Qaeda-linked individuals. Many of the latter group
     have either undergone training in an al Qaeda camp, but did not pledged loyalty to Bin Laden or
     Zawahiri, or ascribe to al Qaeda’s global jihadist ideology.35
41           Al Qaeda has also maintained contacts with Iran. According to the 9/11 Commission
     Report, “while in Sudan, senior managers in al Qaeda maintained contacts with Iran and the
     Iranian-supported worldwide terrorist organization Hezbollah, which is based mainly in southern
     Lebanon and Beirut.” Intelligence, the 9/11 Commission found, “indicates the persistence of
     contacts between Iranian security officials and senior al Qaeda figures after Bin Laden’s return to


     30 Unclassified 1996 CIA document, marked Fed-PEC0214474. See also Glenn Simpson, “U.S. Officials Knew of
     Ties Between Terror, Charities,” Wall Street Journal, May 9, 2003,
     https://www.wsj.com/articles/SB10524385762417300.
     31 1996, Unclassified 1996 CIA document, marked Fed-PEC0214474. See also Glenn Simpson, “U.S. Officials
     Knew of Ties Between Terror, Charities,” Wall Street Journal, May 9, 2003,
     https://www.wsj.com/articles/SB10524385762417300.
     32
        “Osama Bin Laden v. The U.S.: Edicts and Statements,” PBS Frontline,
     https://www.pbs.org/wgbh/pages/frontline/shows/binladen/who/edicts.html.
     33
        US District Court, Southern District of New York, U.S. v. Usama bin Laden, et al. Available online at
     http://cns.miis.edu/pubs/reports/pdfs/binladen/indict.pdf.
     34
        Lawrence Wright, The Looming Tower: Al-Qaeda and the Road to 9/11 (New York: Vintage Books, 2006), 107-
     108, 185, 270-271.
     35
        Wright, The Looming Tower: Al-Qaeda and the Road to 9/11 (New York: Vintage Books, 2006): 270-271.
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     Afghanistan.”36 In fact, following the successful al Qaeda attack on the USS Cole in Aden
     Harbor in October 2000, Iranian officials reached out to al Qaeda in a “concerted effort to
     strengthen relations,” according to the 9/11 Commission Report.37
42            Al Qaeda financed its activities through individual donations, abuse of charity, criminal
     activities and business investments. Early on, the role of deep pocket donors and charities in
     Saudi Arabia in financing al Qaeda became clear. According to a 2002 report of an independent
     task force sponsored by the Council on Foreign Relations on terrorist financing, “For years,
     individuals and charities based in Saudi Arabia have been the most important source of funds for
     al Qaeda. And for years, Saudi officials have turned a blind eye to this problem.”38


          2. Background on Terrorist Abuse of Charity
43       The Financial Action Task Force (FATF)—the 34-member multilateral body that aims to set
     global standards for anti-money laundering and counter-terror financing—has found that “Terror
     networks often use compromised or complicit charities and businesses to support their
     objectives.”39 In fact, FATF warned that “the misuse of non-profit organizations for the
     financing of terrorism is coming to be recognized as a crucial weak point in the global struggle to
     stop such funding at its source.”40 According to the Justice Department, intelligence indicates
     that terrorists continue to use charities as sources of both financial and logistical support.41
     British officials concur. According to a joint United Kingdom HM Treasury/Home Office report,
     a “significant proportion” of terror finance investigations in the UK in 2006 included analysis of
     links to charities. The report found that “the risk of exploitation of charities is a significant aspect
     of the terrorist finance threat.”42

44      Non-profit organizations are especially susceptible to abuse by terrorists and their supporters.
     Indeed, terrorist groups have long exploited charities for a variety of purposes. Charities offer a

     36
        The 9/11 Commission Report, authorized edition (New York: Norton, 2004), 240, http://www.9-
     11commission.gov/report/911Report.pdf.
     37
        The 9/11 Commission Report, authorized edition (New York: Norton, 2004), 240, http://www.9-
     11commission.gov/report/911Report.pdf.
     38
        “Terrorist Financing,” Report of an Independent Task Force Sponsored by the Council on Foreign Relations,
     Council on Foreign Relations, 2002, 1,
     https://cdn.cfr.org/sites/default/files/pdf/2002/10/Terrorist_Financing_TF.pdf?_ga=2.205608277.755224661.157963
     2365-1372710009.1579202949.
     39
        Financial Action Task Force, Terrorist Financing, February 29, 2008, http://www.fatf-
     gafi.org/media/fatf/documents/reports/FATF%20Terrorist%20Financing%20Typologies%20Report.pdf.
     40
        Financial Action Task Force, Terrorist Financing, February 29, 2008, http://www.fatf-
     gafi.org/media/fatf/documents/reports/FATF%20Terrorist%20Financing%20Typologies%20Report.pdf.
     41
        Glenn R. Simpson, “Islamic Charities Draw More Scrutiny,” Wall Street Journal, February 23, 2008.
     42
        HM Treasury, “Financial Challenge to Crime and Terrorism,” February 28, 2007,
     http://webarchive.nationalarchives.gov.uk/+/http:/www.hm-
     treasury.gov.uk/media/C/B/financialchallenge_crime_280207.pdf, 52.
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     veil of legitimacy for terrorist fundraising, attracting unwitting donors who are unaware that
     monies they donate for humanitarian purposes instead fund terror. Charities are vulnerable to
     abuse as money laundering mechanisms, and can be abused to provide terrorist operatives with
     day jobs, salaries, meeting places, and a means of obtaining official documents such as licenses
     and mortgages. Consider that Hamas terrorist operatives frequently hold day jobs working within
     the group’s network of charities and social service organizations, which both provide a salary
     and cover for their less charitable activities, such as plotting and carrying out terror attacks. For
     example, documents seized from the offices of the Islamic Relief Agency (IRA) revealed that the
     charity had been paying the salaries of ten West Bank Hamas activists.43 Those social welfare
     organizations funded by terrorist groups engender grassroots support for said groups and create
     fertile spotting and recruitment grounds.
45       Charities tend to operate in zones of conflict and traditionally involve the flow of money in
     only one direction, both of which are characteristics that would arouse money laundering
     suspicions in other organizations. For this reason, charities are not only ideal fundraising fronts
     for terrorists and other illicit actors, but can also function as ideal money laundering
     mechanisms. Through charities, transnational terrorist groups have been able to move personnel,
     funds, and material to and from high-risk areas under cover of humanitarian or charity work.

46        Moreover, terrorists co-opt charitable giving through a range of diverse tactics. Some
     charities are founded with the express purpose of financing terror, while others are infiltrated by
     terrorist operatives and supporters and are co-opted from within. Recognizing that analysis of
     this particular preferred means of terror financing demands a discerning and discriminating level-
     of-analysis approach, Ambassador Francis X. Taylor, then the State Department’s Coordinator
     for Counterterrorism, noted in 2002 that “any money can be diverted if you don’t pay attention to
     it. And I believe that terrorist organizations, just like criminal enterprises, can bore into any
     legitimate enterprise to try to divert money for illegitimate purposes.”44
47        A growing challenge in this arena is that banned or exposed charities tied to terrorism often
     shut down one day only to open up some time later under new names. For example, the U.S.
     Treasury Department noted that after being designated in March 2002, the Bosnian branch of the
     al Haramain Islamic Foundation “reconstituted itself and continued operations under the name
     ‘Vazir.’” In another case, Treasury noted that the Indonesian branch of a charity designated for
     its ties to terrorism, al Haramain, also attempted to operate under an assumed name, “Yayasan




     43
        Dale L. Watson, assistant director for counterterrorism, Federal Bureau of Investigation, “Holy Land Foundation
     for Relief and Development, International Emergency Economic Powers Act, Action Memorandum,” memorandum
     to R. Richard Newcomb, director of the Office of Foreign Assets Control, U.S. Department of the Treasury,
     November 5, 2001 (“Watson Memorandum”).
     44
        “Patterns of Global Terrorism 2001,” U.S. Department of State, International Information Programs, U.S.
     Department of State Archives, May 21, 2002, https://2001-2009.state.gov/s/ct/rls/rm/10367.htm.
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     Al-Manahil-Indonesia.”45 In July 2008, Treasury added new aliases under which Al Rashid Trust
     and Al-Akhtar Trust International continued to operate, years after their U.S. and U.N.
     designations, in “an apparent effort to circumvent sanctions imposed by the United States and the
     United Nations.”46
48       Generally, donors are especially willing to give to humanitarian causes, but in the Muslim
     world they often do so as part of religiously mandated annual zakat contributions. Such
     otherwise praiseworthy donations have long been known to lend themselves to abuse. The
     mixing of funds across different “wings” of terrorist groups also shields the group’s terrorist
     activities under a veil of political and humanitarian legitimacy.47
49       An article in Military Review, written by a Belgian military officer, offers important insights
     into what the author describes as “zakat-jihad activism.” That is, a group engaged in terrorism or
     political violence “generates popular support by establishing an unarmed infrastructure that
     provides essential services.”48 This tactic not only produces significant grassroots support, but
     also creates an ideal means to launder and transfer funds as well as a means of providing activists
     day jobs and a veneer of legitimacy.
50       Beyond engendering grassroots support, those charities focused on providing funds to the
     families, orphans, and widows of martyrs remove any existing financial disincentives to
     prospective mujahideen and provide an incentive for participation in jihad. Knowing their
     families will be provided for after their “martyrdom” enables mujahideen to focus on their
     violent jihad activities with the peace of mind that their own families will enjoy the benefits of
     what amounts to a life insurance policy for mujahideen. The organization Alkifah/CARE
     actively solicited funds for families of mujahideen, and discussed the subject on intercepted
     telephone calls as well. Consider, for example, an online solicitation for Orphans Sponsorship

     45
        “Treasury Announces Joint Action with Saudi Arabia Against Four Branches of Al-Haramain In The Fight
     Against Terrorist Financing,” Document number JS-1108, Office of Public Affairs, U.S. Department of the
     Treasury, January 22, 2004, https://www.treasury.gov/press-center/press-releases/Pages/js1108.aspx.
     46
        Treasury Identifies New Aliases of Al Rashid and Al-Akhtar Trusts Pakistan-Based Trusts Previously Designated
     for Supporting al Qaida, U.S. Department of the Treasury, July 2, 2008, https://www.treasury.gov/press-
     center/press-releases/Pages/hp1065.aspx.
     47
        Information on the Islamic Red Crescent from Senate Committee on Banking, Housing and Urban Affairs,
     “Prepared testimony of Jean-Charles Brisard, international expert on terrorism financing, lead investigator, 9/11
     lawsuit CEO, JCB Consulting International,” October 22, 2003, accessed through Federal News Service; “Saudi
     pilot on FBI list denies terror links,” Agence France Presse, October 16, 2001; “Treasury Department Statement on
     the Designation of Wa'el Hamza Julidan,” U.S. Department of the Treasury, Office of Public Affairs, September 6,
     2002, http://www.treas.gov/press/releases/po3397.htm; For Taylor quote see “Patterns of Global Terrorism 2001,”
     U.S. Department of State, International Information Programs, May 21, 2002, https://2001-
     2009.state.gov/s/ct/rls/rm/10367.htm; For Pakistan see Timur Kuran, “Islam and Mammon: Book Excerpt,” The
     Milken Institute Review: A Journal of Economic Policy (3rd Qtr. 2004), 76.
     48
        Erik A. Claessen, “S.W.E.T. and BLOOD: Essential Services in the Battle Between Insurgents and
     Counterinsurgents,” Military Review (November-December 2007), https://www.questia.com/library/journal/1P3-
     1402462381/s-w-e-t-and-blood-essential-services-in-the-battle.
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     that opens with the statement: “Do you know who I am? I am an orphan whose father died in
     defense of the faith.” It continues, “Won’t you sponsor me, and fulfill part of your obligation to
     my father? Won’t you sponsor me? I am not really a stranger to you; I am your brother’s
     child.”49
51       Clearly, there is a need for due diligence within the charitable sector. The findings of
     investigative bodies in the U.S., Great Britain, and elsewhere, as well as those of technocratic,
     non-partisan, multilateral bodies such as the Financial Action Task Force (FATF), appear to
     come as an unwelcome surprise to some in the academic and non-profits sectors. For some,
     efforts to stem the flow of funds available for terrorism and other transnational threats is a farce,
     and governments are not to be believed when they point to successes in either stemming the flow
     of funds to terrorists or following financial trails to ferret out terrorist networks. Some
     dismissively describe abuse of charities for terrorist financing as a “reflexive equation of Islamic
     charities with terrorism.”50 This, however, is a critique that flies in the face of the extensive
     available evidence and simply falls flat.
52       Consider, for example, that in October 2007, Sheikh Abdel-Aziz Al-Asheikh, the Grand
     Mufti of Saudi Arabia and the most senior Wahhabi cleric, released a religious edict, or fatwa,
     instructing Saudis not to leave the Kingdom to participate in jihad—a statement directed
     primarily at those considering going to Iraq—and urged Saudis to “be careful about where [their
     money is] spent so it does not damage Muslims.”51 In April 2010, the Saudi Council of Senior
     Ulema (scholars) issued a fatwa explicitly forbidding the financing of terrorists and their
     activities.52 Such statements are notable for acknowledging that Saudi charitable giving has been
     and is susceptible to abuse by terrorists and insurgents and taking public action to mitigate the
     threats this poses for both the personal security of citizens and the public integrity of charitable
     giving.
53       There can be no doubt that charity is a value of paramount importance to donors and
     recipients alike. International aid is a powerful tool in international foreign policy, and
     humanitarian giving is a laudable religious tradition and strong value in many societies.
     Recognizing, as illicit actors already have, that the charitable sector is vulnerable to abuse, and
     devising policies that protect charities from abuse, is the true challenge of the day.

54       The clean image of violent organizations engaged in charitable activity, often operating in a
     corrupt environment, also leaves them open to exposure. It is therefore critical to expose the
     underlying fraud inherent in such organizations. The most effective means of doing this is by

     49
        “Orphans Sponsorship,” CARE website, http://web/archive.org/web/20001209030900/care-intl.org/orphans1.htm.
     50
        Ibrahim Warde, The Price of Fear: The Truth Behind the Financial War on Terror (Berkeley: University of
     California Press, 2007), 128.
     51
        “Saudi Cleric Issues Warnings Over Militants,” Reuters, October 1, 2007,
     http://www.reuters.com/article/topNews/idUSL0117164820071001?feedType=RSS&feedName=topNews.
     52
        “Council of Senior Ulema Fatwa on Terror-Financing,” Press Release from the Royal Embassy of Saudi Arabia,
     Washington, D.C., May 2, 2010, http://www.saudiembassy.net/print/announcement/announcement05071001.aspx.
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     publicly designating such groups as a means of informing the public and disrupting terrorist
     financing.
55       Recognizing this truism, the U.S. Treasury Department has proactively sought to help the
     charitable sector better regulate itself from diversion or exploitation. Treasury developed and
     published guidelines of best practices for charities, as well as a risk matrix identifying “common
     risk factors associated with disbursing funds and resources to grantees.” But even Treasury
     acknowledges that self-regulating guidelines are only designed to assist charities that attempt “in
     good faith” to protect themselves from terrorist abuse.53

56       The charitable sector remains vulnerable to terrorist financing. One reason for this, according
     to FATF, is that charities are subjected to lesser regulatory requirements than other entities, such
     as financial institutions or private companies.54
57       Despite some criticism, the U.S. government has been consistent in its efforts to crack down
     on the abuse of the charitable sector by terrorist organizations. The U.S. Treasury Department
     has designated tens of charities with ties to al Qaeda, Hezbollah, and Hamas among other
     terrorist groups, some with branch offices in the U.S. The U.S. has also prosecuted charities and
     their leaders, including in the case of the Holy Land Foundation for Relief and Development
     (HLF), which was found guilty on all counts in November 2008.
58      In none of these cases was U.S. government action capricious or based on sparse, dated, or
     unreliable information. I know from first-hand experience that the designation process is
     appropriately robust, vigorous, and errs on the side of caution. Designated entities can and do
     appeal their designations, and the U.S. Treasury Department has a record of lifting designations
     when warranted.55

59       It should be clear that promoting opportunities for legitimate charitable giving and reducing
     the risk those opportunities are abused for illicit purposes are in no way mutually exclusive
     goals. Unfortunately, there are those who insist otherwise. They stress that due diligence on the
     part of charities is difficult and costly, and insist it has only limited value.


     53
        “Risk Matrix for the Charitable Sector,” U.S. Department of the Treasury, March 8, 2007,
     https://www.treasury.gov/resource-center/terrorist-illicit-finance/Documents/charity_risk_matrix.pdf.
     54
        FATF Report Combating the Abuse of Non-Profit Organizations, June 2015, http://www.fatf-
     gafi.org/media/fatf/documents/reports/BPP-combating-abuse-non-profit-organisations.pdf.
     55
        Note for example, the appeals of the Holy Land Foundation for Relief and Development (HLFRD), the Islamic
     African Relief Agency (IARA), Al-Haramain Foundation, and Kindhearts, to the U.S. courts. Examples of
     individuals removed from the Treasury designation lists can be found on the Treasury website. For the removal of
     Mohamad Nasir Abas, a former commander of Jemaah Islamiyah, see
     http://www.treas.gov/offices/enforcement/ofac/actions/20081002.shtml. For other examples, see
     http://www.treas.gov/offices/enforcement/ofac/actions/20100506.shtml for removals made on May 6, 2010; See
     http://www.treas.gov/offices/enforcement/ofac/actions/20100108.shtml for removals made on January 8, 2010; See
     http://www.treas.gov/offices/enforcement/ofac/actions/20091103.shtml for removals made on November 3, 2009.
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60       In fact, the real question of the day is how to most effectively streamline due diligence and
     make it more cost effective. There should be no debate over the basic threshold for harmonizing
     charity and security: a basic commitment to non-violence. Balancing the risk of violence and the
     opportunity for charity, government and the non-profit sector both have a responsibility to err on
     the side caution. Both also have a responsibility to work cooperatively to thaw the chilling effect
     that the government’s public response to terrorists’ abuse of charities has had on charitable
     giving within the United States, and within Muslim-American communities in particular.
61      The problem is not enforcement of U.S. laws banning material support to terrorist
     organizations (indeed, in the history of Treasury’s designation regime, only a handful of U.S.-
     based charities have been designated), but rather, the unintended impact this has had on
     charitable giving. Greater due diligence on the part of non-profit organizations, combined with
     government outreach and information campaigns such as Treasury’s “Updated Anti-Terrorist
     Financing Guidelines: Voluntary Best Practices for U.S.-Based Charities,” would go a long way
     toward resolving this problem.56
62       This report includes information from U.S. Treasury Department designations, which
     warrants a note on the rigor of the government’s designation process and regime. The
     designation of a person or entity as a specially designated terrorist entity by either the U.S.
     Department of the Treasury or Department of State is based on a significant body of evidence—
     some classified, some open source—that the person or entity supports terrorism. Specifically, to
     be considered for designation, a proposed target must either be owned or controlled by
     designated persons or entities; be acting for or on behalf of designated persons or entities; be
     assisting or sponsoring designated persons or acts of terrorism; be providing financial, material
     or technological support for designated persons or acts of terrorism; be providing financial or
     other services to or in support of designated persons or acts of terrorism; or be otherwise
     associated with designated persons (this last category of “associated with” is undefined, and
     therefore generally not used).
63       Such designations are the product of a robust interagency process that considers timeliness
     and strength of the evidence, and considers diplomatic concerns and the impact on intelligence or
     other government equities, among other factors. The evidentiary record produced to support a
     designation then undergoes several rounds of review by lawyers representing various U.S.
     departments, both for legal sufficiency and litigation risk. Given the appropriately intense rigor
     involved in this process, many more entities are considered for designation than those that are
     ultimately designated. In the case of entities tied to al Qaeda and/or the Taliban (and, more
     recently, the Islamic State), designations are frequently brought before the United Nations, where



     56
       See “Updated Anti-Terrorist Financing Guidelines: Voluntary Best Practices for U.S.-Based Charities,” U.S.
     Department of the Treasury, https://www.treasury.gov/press-center/press-
     releases/Documents/0929%20finalrevised.pdf.
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     they are subject to UN standards and regulations before being approved as UN-designated
     terrorist entities under UN Security Council Resolutions.


          3. Al Qaeda’s Pre-9/11 Reliance on Abuse of Charity
64       Writing in April 1999, the CIA’s Counterterrorist Center released a report entitled “Islamic
     Terrorists: Using Nongovernmental Organizations Extensively.”57 The report noted that the vast
     majority of Islamic NGOs are not tied to terrorism, but documented that the few dozen that do
     operate in support of terrorism fell into three basic categories: (1) NGOs tied to state sponsors of
     terrorism; (2) “large, internationally active NGOs based in Saudi Arabia or one of the Persian
     Gulf States that are exploited by individual employees with ties to extremists;” and (3) “private
     organizations—some also are headquartered in the Persian Gulf countries—that either have
     opened offices in areas of military conflict involving Muslims or have grown out of such
     conflicts.”58 As an example of a Saudi-based international NGO financing terrorism, the report
     cited as a “case study” Bin Laden’s use of al Haramain. The report cited Maktab al-Khidamat
     (MAK) as “the premier example” of a private organization established in the context of a conflict
     involving Muslims.59

65      A January 1999 CIA report analyzed how Bin Ladin managed to command a global terrorist
     network. The report underscored al Qaeda’s need for funds:
             Al-Qaeda provides members of its network training, safehaven, moneymaking opportunities,
             access to arms and illicit material, publishing and media facilities, communications, transportation,
             documentation, technical support, intelligence, counterintelligence, and liaison with other groups.60

66          To finance these various costs, the report explained, Bin Ladin “taps into the resources of
     some international Islamic nongovernmental organizations (NGOs) for financial and logistical
     support,” among other sources.61


     57
        “Islamic Terrorists: Using Nongovernmental Organizations Extensively,” Intelligence Report, DCI
     Counterterrorist Center, 9 April, 1999 (Approved for release 25 April 2012), accessed from The National Security
     Archive at https://assets.documentcloud.org/documents/368948/1999-04-09-islamic-terrorists-using.pdf.
     58
        “Islamic Terrorists: Using Nongovernmental Organizations Extensively,” Intelligence Report, DCI
     Counterterrorist Center, 9 April, 1999 (Approved for release 25 April 2012), accessed from The National Security
     Archive at https://assets.documentcloud.org/documents/368948/1999-04-09-islamic-terrorists-using.pdf.
     59
        “Islamic Terrorists: Using Nongovernmental Organizations Extensively,” Intelligence Report, DCI
     Counterterrorist Center, 9 April, 1999 (Approved for release 25 April 2012), accessed from The National Security
     Archive at https://assets.documentcloud.org/documents/368948/1999-04-09-islamic-terrorists-using.pdf.
     60
        “How Bin Ladin Commands a Global Terrorist Network,” Intelligence Report, Central Intelligence Agency, DCI
     Counterterrorism Center, 27 January 1999, (Approved for release 25 April 2012), accessed from The National
     Security Archive at https://www.documentcloud.org/documents/368944-1999-01-27-how-bin-ladin-commands-a-
     global.html.
     61
        “How Bin Ladin Commands a Global Terrorist Network,” Intelligence Report, Central Intelligence Agency, DCI
     Counterterrorism Center, 27 January 1999, (Approved for release 25 April 2012), accessed from The National
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67          The CIA assessed in 2002 that prior to 9/11, al Qaeda likely spent approximately $30
     million per year, including payments of around $20 million per year to the Taliban to enable the
     group to operate in Afghanistan. Those costs dropped after 9/11, when al Qaeda lost its safe
     haven in Afghanistan, but even then the group had to cover the costs of bribing authorities,
     greasing the palms of facilitators who provided shelter or travel assistance, protecting its
     leadership, and funding terrorist operations.62
68            In February 2002, the CIA produced a status report on its efforts to identify al Qaeda’s
     donors and fundraisers. “Wealthy individuals in the Arabian Peninsula and grassroots supporters
     from around the world are critical funding sources for al-Qa’ida,” the CIA reported as one of its
     key findings.63 And, the report added, they typically used cut-outs in attempt to hide the money
     trail between them and al Qaeda:
             Donors generally channel money intended for terrorist-related activities through middlemen—
             including nongovernmental organizations (NGOs), mosques, fundraisers, and businessmen—
             rather than giving funds directly to Bin Ladin or other senior al-Qa’ida members. This practice
             hides the donors’ role and allows them to deny knowing funds went to terrorists.64

69          A few months later, in November 2002, the CIA published a report entitled “Saudi-Based
     Financial Support for Terrorist Organizations.” The report’s first key finding was blunt: “Saudi
     Arabia is a key base of financial support for al-Qa’ida.” After a few words redacted from the
     declassified version of the report, it went on to explain: “Most of the money originates from
     wealthy individuals, fundraisers who solicit smaller donations, and diversions from non-
     governmental organizations (NGOs); a portion of the funding is derived from legitimate religious
     contributions.”65 Some religious donations are diverted to terrorism, and in these cases the donor
     is unwitting or misled, the CIA reported. But in other cases, financiers “knowingly donate funds
     to al-Qa’ida and are witting that the money finances terrorist activity.”66 The report made clear,


     Security Archive at https://www.documentcloud.org/documents/368944-1999-01-27-how-bin-ladin-commands-a-
     global.html.
     62
        “Terrorism: Amount of Money It Takes To Keep al-Qa’ida Functioning,” Central Intelligence Agency,
     08/07/2002, 1999 (Approved for release 25 April 2012), accessed from The National Security Archive at
     https://www.documentcloud.org/documents/368986-2002-08-07-terrorism-amount-of-money-it-takes-to.html.
     63
        “Identifying Al-Qai’da’s Donors and Fundraisers: A Status Report,” Central Intelligence Agency, Directorate of
     Intelligence, 27 February 2020, (Approved for release 25 April 2012), accessed from The National Security Archive
     at https://assets.documentcloud.org/documents/369175/2002-02-27-identifying-al-qaidas-donors-and.pdf.
     64
        “Identifying Al-Qai’da’s Donors and Fundraisers: A Status Report,” Central Intelligence Agency, Directorate of
     Intelligence, 27 February 2020, (Approved for release 25 April 2012), accessed from The National Security Archive
     at https://assets.documentcloud.org/documents/369175/2002-02-27-identifying-al-qaidas-donors-and.pdf.
     65
        “Saudi-Based Financial Support for Terrorist Organizations,” Central Intelligence Agnecy, Directorate of
     Intelligence, 14 November 2002, (Approved for release 25 April 2012), accessed from The National Security
     Archive at https://assets.documentcloud.org/documents/368987/2002-11-14-saudi-based-financial-support-for.pdf.
     66
         “Saudi-Based Financial Support for Terrorist Organizations,” Central Intelligence Agnecy, Directorate of
     Intelligence, 14 November 2002, (Approved for release 25 April 2012), accessed from The National Security
     Archive at https://assets.documentcloud.org/documents/368987/2002-11-14-saudi-based-financial-support-for.pdf.
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     however, that Saudi Arabia was a “key financial base for al-Qa’ida,” adding that “Bin Ladin’s
     network [redacted text] Saudi Arabia for the bulk of its fundraising for several years,” and that
     al-Qa’ida was able to exploit several Saudi-based NGOs and divert funds to al-Qa’ida.67
70           The 9/11 Commission report is clear about al Qaeda’s use of businesses and NGOs in
     Croatia, Bosnia, Azerbaijan, Chechnya, Budapest and Nairobi as fronts that “covertly provided
     financial and other support for terrorism activities.”68



          4. Dawa in Islam
71       According to Islamic tradition, all Muslims are obligated to submit themselves to God
     (ibadah) and preach or propagate (dawa, literally “a call to God”) true Islam. The obligation to
     spread true Islam covers a wide spectrum of outreach activity, from outright proselytizing (which
     benefits the soul) to charitable giving and social welfare activities (which benefit the body). To
     fulfill these social welfare duties, the Islamic endowments (waqf, or awqaf in the plural) that are
     responsible for the upkeep of mosques and holy sites in contemporary Muslim societies also
     typically manage social service institutions. Throughout the Muslim world, revenue derived from
     the waqf’s endowed properties and individual donations typically fund “a veritable network of
     welfare and charitable services (such as schools, orphanages, soup kitchens).” These not only
     provide for the needs of the population, but are also a means of drawing in the people to whom
     religious leaders want to preach.69
72       Within the more radical Salafi strain of Sunni Islam, dawa activities are seen as protecting
     the umma (Islamic community, or nation) from insufficiently Islamic rulers and other perceived
     enemies of Islam, such as non-Muslim infidels. Salafiyya is a school within Sunni Islam that
     spread throughout the Arab world in the twentieth century. Its name comes from the Arabic
     words al-salaf al-salih, “the venerable forefathers,” referring to the generation of the Prophet
     Mohammad and his companions. Salafis originally believed Islam had been corrupted by
     idolatry, and they sought to bring it back to the purity of its earliest days as it was practiced in
     the time of the Prophet. Accordingly, Salafis today reject modernizing tendencies, and believe
     that the Koran and Hadith (traditions of the Prophet) should be interpreted as they were during
     the first few generations after Mohammad’s death. Salafis are sometimes considered extreme in
     belief; after 9/11, the term has been used to describe various groups within Sunni Islamic


     67
        “Saudi-Based Financial Support for Terrorist Organizations,” Central Intelligence Agnecy, Directorate of
     Intelligence, 14 November 2002, (Approved for release 25 April 2012), accessed from The National Security
     Archive at https://assets.documentcloud.org/documents/368987/2002-11-14-saudi-based-financial-support-for.pdf.
     68
        The 9/11 Commission Report, authorized edition (New York: Norton, 2004), 58, http://www.9-
     11commission.gov/report/911Report.pdf.
     69
        For dawa definition see R. Hrair Dekmejian, Islam in Revolution: Fundamentalism in the Arab World (Syracuse:
     Syracuse University Press, 1985), 44; Quote regarding waqf from Michael Dumper, Islam and Israel: Muslim
     Religious Endowments and the Jewish State (Washington D.C.: Institute for Palestine Studies, 1994), 1-2.
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     ideology that practice purist or reactionary interpretations of Islam—especially the militant
     expressions of these ideologies.70
73       To promote their particular version of Islam, many Salafis use dawa activities to promote a
     “pure” Islamic practice modeled after the lifestyle of the Prophet Mohammed, emphasizing
     individual piety and self-purification. When, as with Salafis, the goal is “the transformation of
     society through religious education, and moral and social reform,” the wide array of social
     services that make up the dawa are ideally suited to the religious goals of reviving and
     propagating the faith in a population. This Salafist ideological framework is common to the
     various modern militant Islamist organizations that grew out of the Muslim Brotherhood and the
     Afghan jihad against the Soviets. As the Congressional Research Service notes of the former al
     Qaeda leader, “[Osama] Bin Laden has identified Salafist thinkers such as his former mentor
     Abdallah Azzam, Hamas founder Ahmed Yasin, World Trade Center bombing conspirator Omar
     Abdel Rahman, Saudi dissident clerics Salman al-Awdah and Safar al-Hawali, and thirteenth
     century Islamic scholar Ibn Taymiyah as prominent ideological influences.”71



          5. Dawa, Violence and Extremism
74        One of the ideological principles developed by Muslim Brotherhood theoretician Sayyid
     Qutb is that “the duty of the faithful Muslim is to revive Islam to transform the jahili [immoral,
     pre-Islamic] society through proselytization (dawa) and militant jihad.” Islam scholar Olivier
     Roy has noted that militant behavior in Islamist groups appears to be motivated more by a
     particularly aggressive style of religious preaching than by political training. For Roy, the word
     dawa is defined as “militant preaching” and is a more significant cause of militant behavior than
     is strictly political training (he literally translates the word as “call” or “invitation”). Indeed,
     Muslim Brotherhood founder Hassan al-Banna wrote a tract titled Da'watuna (Our Militant
     Preaching). Among Muslim militants, Roy pointed out, “Preaching (da’wa) is the instrument of
     the march to power.”72
75       Many open societies, particularly democratic ones, are concerned about the preaching and
     social welfare activities of groups with militant ties, particularly because the dawa culture often
     features anti-democratic and anti-western undertones. The Dutch General Intelligence and

     70
        See Robert Worth, "The deep intellectual roots of Islamic terror," New York Times, October 13, 2001; Wikipedia
     Online Encyclopedia, s.v. "Salafi," http://en.wikipedia.org/wiki/Salafi
     71
        John Esposito, Islam: The Straight Path (Oxford: Oxford University Press, 1988), 200; Christopher M. Blanchard,
     Al Qaeda: Statements and Evolving Ideology, Congressional Research Service, CRS Report RL32759, February 4,
     2005, http://www.fas.org/irp/crs/RL32759.pdf; For an insightful discussion of Salafi means of spreading Islam, from
     dawa to violent activity, see Quintan Wiktorowicz and John Kaltner, “Killing in the Name of Islam: Al-Qaeda's
     Justification for September 11,” Middle East Policy 10, no. 2 (2003).
     72
        For Qutb quote see R. Hrair Dekmejian, Islam in Revolution: Fundamentalism in the Arab World (Syracuse:
     Syracuse University Press, 1985), 91; Olivier Roy, The Failure of Political Islam, trans. Carol Volk, (Cambridge:
     Harvard University Press, 1994), 57, 70.
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     Security Service (AIVD) outlined these concerns in a report entitled, “From Dawa to Jihad: The
     Various Threats from Radical Islam to the Democratic Legal Order.” Groups that focus on dawa
     activities, the report claimed, “follow a long-term strategy of continuous influencing based on
     extreme puritanical, intolerant and anti-Western ideas.” The report warned that “the choice of
     [some] dawa-oriented groups for non-violent activities does not always imply that they are non-
     violent on principle. Often they simply do not yet consider armed jihad expedient for practical
     reasons (jihad can be counterproductive or impossible because of the other side’s superiority) or
     for religious reasons (the jihad against non-believers is only possible when all Muslims have
     returned to their ‘pure’ faith).”73
76       Of course, there is nothing inherently violent or antisocial about dawa activities, per se.
     Indeed, the opposite is true: dawa organizations—frequently formed as local charities, non-
     governmental organizations or private voluntary organizations—play an important communal
     role in Islamic history and culture. Like their Salafi cousins, however, radical Islamist
     organizations take advantage of the otherwise laudable Islamic tradition of charity and good
     works not only to teach their particular version of Islam but also to actively support terrorist
     operations.74
77       Using religious arguments to justify, promote, and raise funds for terrorism and other acts of
     violence, terrorist groups and their ideological, financial and logistical supporters have
     sometimes abused Islamic ideals to promote their extremist causes. As Dr. Shmuel Bar described
     in his book on Islamic religious rulings (fatwa) used to support jihad, “Financially supporting
     armed jihad may be performed through a number of mechanisms, foremost of which is zakat—
     the tithe that each Muslim must pay to the community for orphans, widows, and poor within the
     community and for building religious institutions.”75 The 9/11 Commission concluded that “Al
     Qaeda and its friends took advantage of Islam’s strong calls for charitable giving, zakat. These
     financial facilitators also appeared to rely heavily on certain imams [preachers] at mosques who
     were willing to divert zakat donations to al Qaeda’s cause.”76 The Commission found that, like

     73
        General Intelligence and Security Service, “From Dawa to Jihad: The Various Threats from Radical Islam to the
     Democratic Legal Order,” The Netherlands Ministry of the Interior and Kingdom Relations (December 2004): 7, 27.
     74
        For more on legitimate dawa activity as NGOs, see Testimony of Quintan Wiktorwicz, “Prepared Statement to a
     Hearing on the Role of Charities and NGO's in the Financing of Terrorist Activities,” United States Senate
     Committee on Banking, Housing, and Urban Affairs, Subcommittee on International Trade and Finance, August 1,
     2002; For MB ties to suspect NGOs, see, for example, Edward Alden, Mark Huband, and Mark Turner, “Al-Qaeda
     ‘Financiers’ Active In Europe: A UN Report Reveals A Lack Of Action Over Youssef Nada and Ahmed Idris
     Nasreddin,” Financial Times, November 14, 2003. See also Testimony of Matthew Levitt, “Untangling the Terror
     Web: The Need for a Strategic Understanding of the Crossover Between International Terrorist Groups to
     Successfully Prosecute the War on Terror,” United States Senate Committee on Banking, Housing, and Urban
     Affairs, October 22, 2003.
     75
        Shmuel Bar, Warrant for Terror: The Fatwas of Radical Islam and the Duty to Jihad (Lanham: Rowman &
     Littlefield, 2006), 74.
     76
        The 9/11 Commission Report, authorized edition (New York: Norton, 2004), 170, http://www.9-
     11commission.gov/report/911Report.pdf.
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     radical preachers at certain mosques, charities—some abused by corrupt employees and other
     full and witting terror financiers—also played a critical role in financing al Qaeda.
78       Al Qaeda took two approaches to using charities for fund-raising. One was to rely on al
     Qaeda sympathizers in specific foreign branch offices of large, international charities
     (particularly those with lax external oversight and ineffective internal controls, such as the Saudi-
     based al Haramain Islamic Foundation). Smaller charities in various parts of the globe were
     funded by these large Gulf charities and had employees who would siphon the money to al
     Qaeda. In addition, entire charities, such as the al Wafa organization, may have wittingly
     participated in funneling money to al Qaeda. In those cases, al Qaeda operatives controlled the
     entire organization, including access to bank accounts. Charities were a source of money and
     also provided significant cover, enabling operatives to travel undetected under the guise of
     humanitarian work.77
79       Al Kifah (a key part of the international network of MAK organizations), operating under
     this name and later operating as CARE International, played a central role raising funds for
     radical organizations and causes affiliated with the global jihadist movement. For example, Al
     Kifah/CARE specifically urged donors to include donations for jihad in order to fulfill their zakat
     obligations and warned that “the one who withholds the zakat will be severely tortured in Hell-
     fire unless Allah forgives him.”78
80      Similarly, the editor of the December 30, 1994 edition of CARE publication Al-Hussam
     added an Editor’s Note stressing that praying for Chechen fighters was not enough; Muslims
     must also fight with them or at least fund them:
             When some people hear the word “pray for us, which is all we ask”, they rejoice and think that
             there is no need for men or money. This is a grave error; if they do not need us, we need them so
             we can accomplish Jihad together… And if they say we do not need anything, it is because they
             have integrity and will not ask, even if they need help.79

81          Like Al Kifah/CARE’s al-Hussam, GRF publications also issued calls to fund and
     support armed jihad:
             GRF has published several Arabic newsletters and pamphlets that advocate armed action through
             jihad against groups perceived to be un-Islamic. For example, one 1995 GRF pamphlet reads “God
             equated martyrdom through JIHAD with supplying funds for the JIHAD effort. All contributions
             should be mailed to: GRF.” Another GRF newsletter requested donations “for God’s cause – they
             [the Zakat funds] are disbursed for equipping the raiders, for the purchase of ammunition and food,
             and for their [the Mujahideen’s] transportation so that they can raise God the Almighty’s word . . .


     77
        The 9/11 Commission Report, authorized edition (New York: Norton, 2004), 170-171, http://www.9-
     11commission.gov/report/911Report.pdf.
     78
        “The Obligation of Zakat,” Al-Hussam 5, no. 7 (January 1997), see U.S. v Mubayyid et al, U.S. District Court,
     District of Massachusetts
     79
        Al-Hussam, no.18 (December 1994), see U.S. v Mubayyid et al, U.S. District Court, District of Massachusetts
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             it is likely that the most important of disbursement of Zakat in our times is on the jihad for God’s
             cause . . . .”80



          6. “Economic Jihad”
82       Dawa organizations hijacked by terrorist groups have often been key nodes in what radical
     Islamist leaders have described as the “economic jihad” (al-Jihad bil-mal), a phrase that features
     prominently in their fundraising techniques. The concept is simple in practice. Radical leaders
     claim their followers have a religious duty to engage in jihad—either by physically fighting
     Islam's enemies or by supporting those who do. Proponents of this logic ground their position in
     a Quranic verse in Surah 9 (al-Tawbah) Verse 41: “Fight with your possessions and your souls in
     the way of Allah.” Typically, “possessions” translates into “money,” for purposes of expediency.
83        The call to wage economic jihad is a staple of radical leaders of various stripes.
     For example, speaking of the need to support Palestinian militants in a “Jerusalem Day” speech
     in December 2003, Hezbollah leader Sheikh Hassan Nasrallah said, “All the institutions,
     committees, parties, private and collective initiatives throughout the Moslem world must be
     spurred on to collect money, everywhere in the world, and to bring that money to Palestine. With
     it they will buy bread and rebuild their houses. The money will bandage their wounds. With that
     money they are assured of the ability to buy weapons, for the men and women of Palestine will
     not be weakened. The [challenge] of our era is found today in Palestine . . . If we cannot give
     them arms, we can give them the money to buy them.”81
84      Sheikh Nasrallah’s position mirrors that of Hezbollah’s benefactor, Iran’s Ayatollah
     Khomeini. A Syrian Ministry of Information publication records Khomeini as saying that it is the
     duty of all Muslims “to get rid of that germ corruption [Israel] in any way possible,” and that to
     achieve that goal “it is not enough to extend practical support to [Palestinians to achieve] the
     goal but to direct resources to that end from the zakat and other Islamic charity monies.”82
85       Sheikh Yousef Qardawi, a prominent Muslim Brotherhood theologian who founded the
     Union of Good, has also issued numerous calls for economic jihad. Though better known for his
     religious rulings (fatwa) calling on Muslims to murder American and other civilians in Iraq and
     justifying Hamas suicide bombings against Israeli civilians, Qardawi has also decreed that it is
     more important that Muslims donate money to “support Palestinians fighting occupation and
     other struggles of Muslim populations, such as in Bosnia” than that they make the Hajj (the
     pilgrimage to Mecca required of every able Muslim at least once in his or her life). In an

     80
        “Treasury Department Statement Regarding the Designation of the Global Relief Foundation,” U.S. Department
     of the Treasury, October 18, 2002, www.ustreas.gov/press/releases/po3553.htm.
     81
        C.S.S. Special Information Bulletin, “The speech given by Hassan Nasrallah, Hezbollah leader,” Jerusalem Day
     (December 2003), http://www.intelligence.org.il/eng/bu/iran/jerusalem.htm.
     82
        Adnan Hussein Abu Nasser, Palestine in the Speeches of the Ayatollah Khoeini (Arabic), The Syrian Ministry of
     Information (2000), 120, as cited in C.S.S., Interpal, Part I.
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     interview with the Palestine Times, he said of Islamist resistance in Lebanon and the Occupied
     Territories that “if we can’t carry out acts of jihad ourselves, we at least should support and prop
     up the mujahideen financially and morally so that they will be steadfast until God's victory.” A
     more calculating variation on Qardawi’s theme was played by Sheikh Omar Bakri Mohammad.
     Speaking to followers in his hometown of London, the sheikh said, “The market of jihad has
     opened. Now all we need is the people who are the merchandise, the ones who want to buy
     jennah (paradise). If you cannot do it physically, do it verbally, do it financially, but do it.”83
86       Even secular Muslim leaders have echoed the call of economic jihad. Former Iraqi dictator
     Saddam Hussein argued in 2002 that Arab leaders should shun further peace plans and commit
     “to support the Palestinian people in armed fighting.” He added, “If we are incapable of offering
     aid to the armies, our support should be by [giving] money or buying them arms, or by giving
     Muslims and Arabs the option of volunteering [to help the Palestinian people.]”84

87        In November 2002, Hamas issued a communiqué on one of its web sites calling on
     supporters worldwide to atone for their sins and ensure themselves a place in heaven by helping
     to finance Hamas. “We call on you,” the statement read, “my brother the Jihad fighter and my
     sister the Jihad fighter to donate part of your money to the Jihad fighters who are protecting the
     honor of the Islamic nation. . . . Even if you cannot participate yourselves alongside us in the
     Jihad, your [financial] donation to us from the money that Allah gave you is not less important
     [than participating in the Jihad].”85
88       Fawaz Damrah took a page from the same radical Islamist book in his fundraising pitches to
     U.S. audiences of radicalized Muslims. Damrah was the imam of Cleveland’s largest mosque, an
     officer of Maktab al-Khidmat (MAK, or Afghani Services Bureau), and a major fundraiser for
     Palestinian Islamic Jihad (PIJ) before his conviction in 2004 for unlawfully obtaining citizenship
     via false statements to immigration officials, including failure to note affiliations with terrorist
     groups. Damrah had been involved in the establishment of the MAK office in New York in the
     late 1980s. His investigation by federal authorities offers a model of how an Islamist fundraiser
     uses religious rhetoric to drum up financial support for Islamist terrorism. Transcripts of phone

     83
        For Qardawi see “The Muslim Brotherhood Movement in Support of Fighting American Forces in Iraq,” Middle
     East Media Research Institute (MEMRI), Special Dispatch Series, No. 776 (September 3, 2004),
     http://memri.org/bin/articles.cgi?Page=subjects&Area=middleeast&ID=SP77604; Amany Abdel-Moneim, “Online
     with the Sheikh,” Al Ahram Weekly, no. 563 (December 2001). For Palestine Times see “Sheikh Yousuf al-
     Qaradawi: Hamas and the Islamic Jihad represent the glorious face of the Islamic Umma- Interview,” Palestine
     Times, September 1999, http://www.ptimes.org/issue99/index0.htm; For Sheikh Omar Bakri Mohammad see
     Douglas Davis, “UK Muslim Cleric Faces Deportation for Calling on Followers to Join Al-Qaida,” Jerusalem Post,
     January 19, 2005.
     84
        The Middle East Media Research Institute (MEMRI), "Palestinian Authority and Iraqi Media on Iraqi Support of
     the Intifada," Special Dispatch--Iraq/Jihad and Terrorism Studies, no. 415, August 28, 2002,
     http://www.memri.org/bin/opener_latest.cgi?ID=SD41502 (accessed August 29, 2002).
     85
        IDF Spokesperson, “Hamas is Conducting a Global Search for Financing for Terrorism Activities,” November 29,
     2002, www.imra.org.il.
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     conversations between Damrah and individuals such as senior PIJ officials Sami al Arian, Sheikh
     Abdelaziz Awda, Bashir Nafi, Ghassan Ballut, and others, along with videos of Damrah sharing
     the dais with them at PIJ conferences, were key pieces of evidence at the trial.86
89       For example, at a “Round Table Discussion about Jihad and the Intifada” held in Cleveland,
     Ohio, on April 7, 1991, Damrah was recorded saying, “God says, ‘[w]hoever equipped a raider
     for the sake of God, has himself raided.’ Whoever donates for a mujahid so that he may throw
     stones, as if he too is fighting the Holy War, and will be rewarded like him, even if he stays
     home.”87
90       While fundraisers frequently frame their fundraising pitch in terms of their terrorist group’s
     humanitarian support activities, sometimes—especially before the extra scrutiny brought on by
     the attacks of September 11—they also call on donors to fund overtly violent, militant activities.
     That was clearly the case with Al Kifah/CARE, which specifically called for funding violent
     jihad. Indeed, Al Kifah/CARE received checks from donor with directions to support various
     jihad causes, such as comments on the memo line of checks stating “Bosnia mujahideen,” or
     ‘jihad,” or ‘for jihad only,” or “Chechen Muslim Fighters.”88
91       In some cases, however, Al Kifah/CARE went so far as to express the opinion that engaging
     in economic jihad—supporting others actively engaged in jihad—was insufficient. An article
     that ran in Al-Hussam entitled “Words and Blood” informed that “there is no worship greater
     than the worship offered in Jihad and there is no more serious worship than the worship offered
     in Jihad. Jihad of the self [personally participating in jihad] is a must, those who do not practice
     that do not benefit in their souls and spirits.” The article went on to state explicitly that “Jihad
     with money without Jihad of the soul is not beneficial to the person even if they spend all the
     money on earth. It is useless if they do not take part in wars.”89 In another article that appeared in
     Al-Hussam’s “Sisters’ Corner,” readers were informed that they must not be held back “from
     fulfilling one of the most difficult, yet one of the most rewarding of absolute obligations on
     every Muslim: jihad, in its physical form, for the sake of Allah.” Only in the event that one is
     truly unable to go fight in jihad (“being blind, lame or ill”), “then at least express your support
     and encouragement for those brothers among us who are able and willing.”90




     86
        Regarding Damrah and MAK, see U.S. v Fawaz Damrah, U.S. Court of Appeals, Sixth Circuit
     https://www.courtlistener.com/opinion/790718/united-states-v-fawaz-mohammed-damrah-aka-fawaz-damra/
     87
        “Round Table Discussion about Jihad and the Intifada” held in Cleveland, Ohio, on April 7, 1991, transcript p. 6,
     in court documents from United States of America v. Fawaz Damrah.
     https://www.investigativeproject.org/documents/case_docs/471.pdf
     88
        Affidavit of FBI Special Agent James T. Marinelli, April 2005, submitted in support of United States v.
     Mubayyid, Muntasser, and al-Monla, Criminal Complaint, Case No. 05-40026-FDS, United States District Court,
     Eastern District of Massachusetts.
     89
        Al-Hussam, no. 9 (August 26, 1994).
     90
        Al-Hussam, 4, no. 5 (June 2, 1995).
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92          This theme appears in Muslim World League publications MWL Journal and Al Alam Al
        Islami as well. Consider a few examples:
 92.1        x   According to an article in the MWL’s weekly newspaper, Muslim World News, the
                 Secretary General of the World Assembly of Muslim Youth (WAMY), Dr. Maneh al-
                 Johani, told a group of Kashmiri expatriates at a MWL event that “Muslims can go to the
                 battlefield to wage a war again the enemies of Islam, or they can give their moral,
                 physical and financial support [to] the cause of Jihad.”91
 92.2        x   An article on “Child Upbringing in Islam,” featured in the February 1994 volume of the
                 MWL Journal, included this: “A child should be made to be aware that participating in
                 Jihad is worship in itself and running away from the battle field is a great sin. Taking
                 part in the battle fought in Allah’s Cause can be done by sacrificing one’s life and
                 wealth.”92
 92.3        x   Reporting on a MWL Constituent Council Meeting, the MWL Journal reported in
                 January 1994 on the comments that Sheikh Abdul Aziz bin Baz, the chairman of the
                 MWL Constituent Assembly, told the gathering: “It is the duty of Muslims to support the
                 Bosnian Muslims with arms, money, and whatever they can provide, he said.”93
 92.4        x   The July/August 1991 volume of the MWL Journal includes an article specifically
                 entitled, “Jihad with Money in the Way of Allah.” The article argues that “Jihad with
                 one’s wealth and with one’s life is an essential part of the teachings of Islam.” The
                 article continues, “Yet Jihad with one’s wealth ‘takes precedence’ over Jihad with life in
                 several verses of the Holy Qur’an, calling the Believers to Jihad, because of finance being
                 indispensable for supplying the army with its needs (and on many occasions its
                 requirements may far exceed its demand for manpower). Hence, in view of the unlimited
                 material needs of war, a person may contribute money towards Jihad if he does not
                 personally join it for reasons of physical weakness, illness or distance from the scene of
                 confrontation with the enemy.”94


             7. Examples of Key Saudi Charities and Terrorist and Extremist Financing

93         This report will highlight the Muslim World League, the International Islamic Relief
        Organization, and the al Haramain Foundation as examples Saudi charities that government
        investigations and expert studies have tied to the financing of terrorism and/or extremism in the
        years leading up to 9/11.

        91
           “WAMY Calls for Jihad to Free Kashmir,” Muslim World News, Vo. 26, No. 1216, June 3, 1991, p. 15
        92
           Abdul Malik Bappa Mahmud, “Child Upbringing in Islam,” The Muslim World League Journal, Vol. 21, No. 8,
        Sa’aban 1414—February 1994, p. 34
        93
           Dr. Mozammel Haque, “Bosnia Issue Top on the Agenda: GCC Summit, MWL Meeting and Bosnia Solidarity
        Day,” The Muslim World League Journal, Vol. 21, No. 7, Rajab 1414—January 1994, p. 19
        94
           Muhammad Gamal al-Din Mahfooz, “Jihad with Money in the Way of Allah,” The Muslim World League
        Journal, Vol. 19, Nos. 1-2, Muharram/Safar 1412—July/August 1991, p. 62
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94       A 2005 report by the Dutch General Intelligence and Security Service (AIVD) offers a good
     summary explanation of how these charities functioned as a part of Saudi government policy and
     as an extension of branches of the Saudi government:
             The combination of charity and missionary activities for a long time marked the financing activities
             of the Saudi government. Within the Saudi government an important role was played by the
             Ministry for Islamic Affairs that via the Saudi diplomatic representations abroad made funds
             available to the Muslim communities residing in these countries. Often even more important in
             volume was the financial support from prominent Saudi private benefactors and large organisations,
             which since the 1960s and 1970s have undertaken worldwide charity and missionary activities (in
             itself, incidentally, a legitimate combination which also applies to many Western religiously
             inspired aid organisations). These institutions, such as the Muslim World League (also known as
             Rabita Trust), Al-Haramain, World Assembly of Muslim Youth (WAMY) and International
             Islamic Relief Organisation (IIRO), are officially known as ‘non-governmental organisations
             (NGOs), but in fact maintain close ties with parts of the Saudi establishment. Although to the
             outside world they strongly emphasise their strong humanitarian aims, these organisations are
             primarily focused on propagating the Salafist interpretation of Islam. They concentrate on setting
             up and supporting mosque centres with an orthodox persuasion, hiring, training and subsidising
             imams with a like persuasion, publishing and disseminating Salafist literature, et cetera.95

95            It is important to note that the three Saudi charities examined below are not the only ones
     that have raised concerns of intelligence, law enforcement, and policy officials. Consider, for
     example, the Canada Revenue Agency’s (CRA) decision to revoke the charity registration of the
     World Assembly of Muslim Youth (WAMY) in Canada. The CRA found that WAMY provided
     thousands of dollars to U.N.-sanctioned Benevolence International Foundation (BIF), an entity
     on the U.N.’s list of entities tied to al Qaeda. CRA found that the WAMY office in Saudi Arabia
     “maintains substantial control over WAMY’s finances [in Canada], and uses this control to carry
     out its own objectives in Canada.” The CRA report went on to lists examples of “adverse
     reporting on WAMY and its affiliates,” linking the groups to terrorist organizations.96
96         According to the 9/11 Commission Report, WAMY operated under the official Saudi
     government oversight, regulated by the Ministry of Islamic Affairs.97



             a.     The Muslim World League (MWL)


     95
        “Saudi Influences in the Netherlands: Links between the Salafist Mission, Radicalisation Processes and Islamic
     Terrorism,” General Intelligence and Security Service, Ministry of Interior and Kingdom Relations, June 1, 2005,
     https://english.aivd.nl/publications/publications/2005/01/06/saudi-influences-in-the-netherlands.
     96
        “Notice of Intention to Revoke the World Assembly of Muslim Youth,” Letter from Canada Revenue Agency to
     Mr. Ayman Al-Taher, Canada Revenue Agency, January 5, 2012,
     https://www.canadiancharitylaw.ca/uploads/World_Assembly_of_Muslim_Youth.pdf.
     97
        The 9/11 Commission Report, authorized edition (New York: Norton, 2004), 372, http://www.9-
     11commission.gov/report/911Report.pdf.
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97            According to Victor Comras, a former U.S. diplomat who served under appointment as
     an international monitor to oversee the implementation of UN Security Council measures against
     terrorism and terror financing, “In 1962, the Saudi Royal family established the Muslim World
     League in Mecca and provided it funds to support the propagation of Wahhabi Islam.”98 David
     Aufhauser, former General Counsel at the U.S. Treasury Department, stated in congressional
     testimony to the Senate Committee on Homeland Security and Governmental Affairs that, by
     some estimates he read during the George W. Bush administration, Saudi funding for the MWL
     had exceeded $75 billion.99 In March 1997, then-Secretary General of MWL, Dr. Abdullah al-
     Obaid, thanked King Fahd for his continued support, noting that the Saudi government officially
     provided more than $1.33 billion in financial aid to MWL since its founding.100 According to
     Israeli scholar and former diplomat Dore Gold, the Saudi government has funded 99% of the
     MWL’s money.101 It has funded institutions in Afghanistan, Pakistan, Southeast Asia, the Middle
     East, and Europe.102
98           The MWL and several of its officials have been tied to terrorism. A senior MWL official,
     Wael Hamza al-Julaidan, was designated as a Specially Designated Terrorist by the U.S.
     Treasury Department for his association with Osama bin Laden and al Qaeda. According to the
     designation, “Julaidan fought with bin Laden in Afghanistan in the 1980s. Julaidan is also
     associated with several individuals and entities linked to al-Qa’ida, including bin Ladin
     lieutenants, Ayman al-Zawahri, Abu Zubaida, and Mohammed Atef; and the organizations:
     Makhtab al Khedmat, the Rabita Trust, and al-Gam'a al-Islamiya.” Julaidan also served on the
     Board of Trustees of the Rabita Trust, another NGO designated for its support for terror.

99           In March 2002, in the context of a much larger dragnet, the northern Virginia offices of
     the MWL were raided by a U.S. Treasury Department task force searching for evidence of the
     MWL’s raising and laundering of funds to the aforementioned groups.103 According to an
     unclassified CIA document released in 1996, the MWL has been tied to supporting a variety of
     terrorist groups. This report stated that the head of the MWL office in Pakistan supplied Muslim
     World League documentation and arms to Afghani and Tajik militants.104 Likewise, according to

     98
        Victor Comras, “Al Qaeda Finances and Funding to Affiliated Groups,” Strategic Insights 6, no. 1 (January 2005),
     https://core.ac.uk/download/pdf/36704498.pdf.
     99
        Cited in Victor Comras, “Al Qaeda Finances,” in Giraldo and Trinkunas, eds., Terrorism Financing and State
     Responses (Stanford: Stanford University Press, 1996), 119.
     100
         J. Millard Burr and Robert O. Collins, Alms for Jihad: Charity and Terrorism in the Islamic World (Cambridge:
     Cambridge University Press), 34.
     101
         Dore Gold, Hatred’s Kingdom: How Saudi Arabia Supports the New Global Terrorism (Washington, D.C.:
     Regnery Publishing, 2003), 76.
     102
         Victor Comras, “Al Qaeda Finances,” in Giraldo and Trinkunas, eds., Terrorism Financing and State Responses
     (Stanford: Stanford University Press, 1996), 119.
     103
         Judith Miller, “Raids Seek Evidence of Money-Laundering,” New York Times, March 21, 2002.
     104
         Unclassified 1996 CIA document, marked Fed-PEC0214474. See also David E. Kaplan, “How billions in oil
     money spawned a global terror network,” US News and World Report, December 7, 2003; Wikipedia Online
     Encyclopedia, s.v. “CIA Report on NGOs With Terror Links,”
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      an International Crisis Group report, the Somali terrorist group al-Itihaad al-Islaami, designated
      under Executive Order 13224, derived part of its revenue from the MWL and its subsidiary, the
      IIRO, although it is unknown whether the MWL and IIRO were aware of the usage of these
      funds.105
100           A great deal of MWL’s material support for terrorism has been financial. According to
      investigative journalist David E. Kaplan, the MWL has sent cash to Islamic guerillas in the
      Philippines.106 According to Jimmy Gurule, a former U.S. Treasury Department official and law
      professor at Notre Dame, Osama bin Laden himself covertly funded several terrorist
      organizations through the MWL.107 The MWL also provided non-financial material support such
      as arms and documents to “militants in Afghanistan and Tajikistan,” according to a CIA
      report.108
101           The MWL’s ties to terrorism and religious extremism go back to the Afghan jihad against
      the Soviets in the 1980s. Together with Osama bin Laden, Sheikh Abdullah Azzam co-founded
      Maktab al-Khidmat (MAK)—also known as the Afghan Services Bureau or the Human Services
      Office. “Join the Caravan,” the radical manifesto of Sheikh Abdullah Azzam, is a call to jihad.
      Consider, for example, the preface to the second edition: “We hope that Allah will provide us
      with sincerity and steadfastness and that He will accept our deeds from us, and bring us our end
      in martyrdom.” Among its principles, the monograph informs that “jihad is the highest peak of
      Islam,” that “jihad is the most excellent form of worship,” and warns that “a person who
      discourages people from jihad is like the one who discourages people from fasting. Whoever
      advises an able Muslim not to go for jihad is just like the one who advises him to eat in Ramadan
      while he is healthy and in residence.”109
102           According to Dr. Thomas Hegghammer, a Harvard scholar specializing in the study of
      violent Islamism, “Azzam’s message resonated because it coincided with a growing sense in the
      Muslim world that Muslims were a people challenged by external threats. This message had been
      promoted very actively and forcefully in the late 1970s by non-violent international Islamic
      organizations, above all the Muslim World League” (emphasis added). Arab fighters sent to


      http://en.wikisource.org/wiki/CIA_Report_on_NGOs_With_Terror_Links#INTERNATIONAL_ISLAMIC_RELIE
      F_ORGANIZATION_.28IIRO.29.
      105
          “Somalia’s Islamists,” International Crisis Group Africa Report, no. 100 (December 12, 2005): 6.
      106
          David E. Kaplan, “How billions in oil money spawned a global terror network,” US News and World Report,
      December 7, 2003.
      107
          Jimmy Gurule, Unfunding Terror: The Legal Response to the Financing of Global Terrorism (Northampton:
      Edward Elgar Publishing, 2008), 34.
      108
          Unclassified 1996 CIA document, marked Fed-PEC0214474. See also Glenn Simpson, “U.S. Officials Knew of
      Ties Between Terror, Charities,” Wall Street Journal, May 9, 2003,
      https://www.wsj.com/articles/SB10524385762417300; David E. Kaplan, “How billions in oil money spawned a
      global terror network,” US News and World Report, December 7, 2003.
      109
          Abdullah Azzam, Join the Caravan (CARE International, 1995), 5, 19, 29,
      https://ebooks.worldofislam.info/ebooks/Jihad/Join%20the%20Caravan.pdf.
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103   Afghanistan, Hegghammer noted, were socially and organizationally intertwined, often through
      the MWL. He wrote: “Most of the early Arab fighters in Afghanistan had links to either the
      Muslim Brotherhood or the Muslim World League.” In fact, according to Hegghammer, Sheikh
      Abdullah Azzam’s salary at the International Islamic University in Islamabad, where he
      propagated his violent extremist ideology, was paid by the Muslim World League from 1981 to
      1986.110 According to an unclassified CIA document, at least as of 1996, U.S. intelligence
      suspected MAK was linked to the Muslim World League.111

104          The actions of the Muslim World League have been closely tied to the Saudi government,
      especially in the years leading up to 9/11 (later, the MWL would take steps to try to become a
      more independent organization). Discussing the MWL and “the terrorism connection,” Dr. Sarah
      Feuer concluded: “Regarding the degree to which the league has been an extension of the Saudi
      government, U.S. intelligence operations have exposed direct funding links between members of
      the royal family, various Saudi banks, the Islamic Affairs ministry, Saudi embassies and
      consulates abroad, and the league.”112



               b.    The International Islamic Relief Organization (IIRO)
105           In 1978, the Muslim World League established the International Islamic Relief
      Organization (IIRO) to serve as its humanitarian branch. Headquartered in Jeddah, IIRO is a
      global organization, with offices in Africa, Asia, Europe, Latin America and North America.
      According to former USAID relief coordinator in Sudan J. Millard Burr and historian Robert O.
      Collins, the IIRO seeks to provide relief and aid to Muslims, especially in the face of natural
      disaster and to those who suffered on account of war. The IIRO funds economic development
      projects and financial and management assistance, often in the form of direct payments.
      Additionally, the IIRO has set out to protect Muslim minorities and disseminate the teachings of
      Islam.113
106          According to Feuer, when founded, “IIRO was tasked with running orphanages, building
      mosques, and operating Islamic schools around the world. The organization would ultimately be
      implicated in terrorism including the 9/11 attack, and it has been renamed the International


      110
          Thomas Hegghammer, “The Origins of Global Jihad: Explaining the Arab Mobilization to 1980s Afghanistan,”
      Belfer Center for Science and International Affairs International Security Program, January 22, 2009,
      https://www.belfercenter.org/publication/origins-global-jihad-explaining-arab-mobilization-1980s-afghanistan.
      111
          Unclassified 1996 CIA document, marked Fed-PEC0214474. See also David E. Kaplan, “How billions in oil
      money spawned a global terror network,” US News and World Report, December 7, 2003
      112
          Sarah Feuer, Course Correction: The Muslim World League, Saudi Arabia’s Export of Islam, and Opportunities
      for Washington, Policy Focus 161, The Washington Institute for Near East Policy, November 2019, 16-17
      https://www.washingtoninstitute.org/uploads/Documents/pubs/PolicyFocus161-Feuer.pdf.
      113
          J. Millard Burr and Robert O. Collins, Alms for Jihad: Charity and Terrorism in the Islamic World (Cambridge:
      Cambridge University Press), 35.
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      Organization for Relief, Welfare, and Development.”114 Victor Comras has also argued that
      “[t]he International Islamic Relief Organization is another Wahhabi-sponsored charity.” In an
      article in the journal Strategic Insights, Comras wrote, “The bulk of its financial contributions
      come from private donations in Saudi Arabia.”115

107           As stated in an unclassified CIA document, “[t]he IIRO is affiliated with the Muslim
      World League, a major international organization largely financed by the government of Saudi
      Arabia.”116 Globalsecurity.org, an online database, states with “high confidence” that the IIRO is
      part of the MWL.117 Additionally, the report stated: “Last year [1995], the head of the MWL,
      who is appointed by King Fahd, was also chairman of the board of trustees of the IIRO,
      according to IIRO literature.”118
108          In several countries, the MWL and IIRO even share office space, which was
      demonstrated by the U.S. Treasury Department raid in North Virginia.119 According to Andre Le
      Sage, a professor at the National Defense University (NDU), Somalis often referred to the MWL
      and the IIRO interchangeably when mentioning Rabidat alum Islamiya.120 Furthermore, an
      employee of the IIRO’s Canadian branch, Mahmoud Jaballah, testified in his 1999 deportation
      hearing that “the MWL, which is the mother of the IIRO, is a fully government-funded
      organization.”121

109          According to a report by the UN Al Qaeda and Taliban Monitoring Group, “The charity
      [IIRO] also works in close association with the MWL.”122 There are several ties between the two
      organizations. An account of a meeting in the late 1980s was found in Bosnia, which detailed the
      Secretary General of the MWL informing Osama bin Laden’s representatives that IIRO was



      114
          Sarah Feuer, Course Correction: The Muslim World League, Saudi Arabia’s Export of Islam, and Opportunities
      for Washington, Policy Focus 161, The Washington Institute for Near East Policy, November 2019, 11-12,
      https://www.washingtoninstitute.org/uploads/Documents/pubs/PolicyFocus161-Feuer.pdf.
      115
          Victor Comras, “Al Qaeda Finances and Funding to Affiliated Groups,” Strategic Insights 6, no. 1 (January
      2005), https://core.ac.uk/download/pdf/36704498.pdf.
      116
          Unclassified 1996 CIA document, marked Fed-PEC0214474. See also David E. Kaplan, “How billions in oil
      money spawned a global terror network,” US News and World Report, December 7, 2003
      117
          “Homeland Security, IIRO Profile,” GlobalSecurity.org,
      http://www.globalsecurity.org/security/profiles/international_islamic_relief_organization.htm.
      118
          Unclassified 1996 CIA document, marked Fed-PEC0214474. See also David E. Kaplan, “How billions in oil
      money spawned a global terror network,” US News and World Report, December 7, 2003.
      119
          Judith Miller, “Raids Seek Evidence of Money-Laundering,” New York Times, March 21, 2002.
      120
          Andre Le Sage, “Islamic Charities in Somalia,” in Understanding Islamic Charities (Washington, D.C.: CSIS,
      2007), 159.
      121
          Minister of Citizenship and Immigration v. Mahmoud Jaballah, Federal Court of Canada, Docket: Des-6-99,
      November 2, 1999. See also David E. Kaplan, “How billions in oil money spawned a global terror network,” US
      News and World Report, December 7, 2003.
      122
          Excerpt of UN Al Qaeda and Taliban Monitoring Group Report, December 3, 2003, reprinted in “UN Al Qaida
      Monitoring Group Recommended UN listing of IIRO in December 2003”, Victor Comras, August 3, 2006.
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      offering its offices in support of the mujahedeen.123 Several individuals have also been tied to
      both organizations. In the Philippines, Mohamed Jalal Khalifa, Osama bin Laden’s brother in
      law, headed the Manila branches of both the IIRO and the MWL.124 Ahmed Harakat was linked
      by Canadian intelligence to the MWL and IIRO; Harakat is best known for his ties to al
      Qaeda.125

110           Former al Qaeda operative Jamal al-Fadel, who was a close aide to Bin Laden until he
      defected from the organization, testified as a witness in U.S. v Osama bin Laden (SDNY), and
      pled guilty to terrorism charges, mentioned the IIRO and its ties to al Qaeda in his November
      1996 FBI debriefing. According to al-Fadl, “the head of the International Islamic Relief
      Organization (IIRO) in Peshawar is Abu Hammam.” Together with several others, al-Fadl
      reported, Abu Hammam established the Bin Ladin company Wadi Al Aqiq. Al-Fadl “described
      Hammam as a facilitator, not an operations person, and [said] that he would contribute funds or
      contacts to an operation.”126 According to the FBI report, Al-Fadl added that during the war in
      Afghanistan “many donations, including one from a very rich Saudi whose name he does not
      know, was sent to the IRO run by Abu Hammam. Gamal believes that all of the money was not
      spent in Afghanistan, and that Bin Ladin most likely used some of the funds for other Arab
      causes.”127
111          The FBI would later tie the MWL and IIRO to Ramzi Yousef and al Qaeda plotting in
      Southeast Asia. Steve Coll explained in his book, Ghost Wars:
               There was now reason to ‘suspect Yousef and his associates receive support from Osama bin Laden
               and may be able to tap into bin Laden’s mujahedin support network.’ In addition, they may also
               have been able to draw on Islamic charities for support. The FBI analysis listed the huge
               semiofficial Saudi Arabian charity, the International Islamic Relief Organization, and the largest
               government-sponsored Saudi religious proselytizing organization, the Muslim World League, as
               important resources for the new terrorist.128
112   A 1996 CIA report also tied Ramzi Yousef to the IIRO.129




      123
          J. Millard Burr and Robert O. Collins, Alms for Jihad: Charity and Terrorism in the Islamic World (Cambridge:
      Cambridge University Press), 36.
      124
          Dan Ottaway and Dan Morgan, “Two Muslim Charities Under Scrutiny; Saudi-Funded Groups Deny Ties to
      Terrorist Networks but Cite Vulnerability,” Washington Post, September 30, 2001.
      125
          Jerry Seper, “Al Qaeda said to be operating in Canada,” Washington Times, December 19, 2002.
      126
          FBI FD-302 of Gamal Al-Fadl, November 10, 1996, Marked PEC-KSA002115, provided by Plaintiff’s Counsel
      127
          FBI FD-302 of Gamal Al-Fadl, November 10, 1996, Marked PEC-KSA002115, provided by Plaintiff’s Counsel
      128
          Steve Coll, Ghost Wars (New York: Penguin Books, 2004), 278-279.
      129
          Unclassified 1996 CIA document, marked Fed-PEC0214474. See also Glenn Simpson, “U.S. Officials Knew of
      Ties Between Terror, Charities,” Wall Street Journal, May 9, 2003,
      https://www.wsj.com/articles/SB10524385762417300.
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113          Indeed, Bin Laden had an especially close conduit to the MWL and later to the IIRO in
      Southeast Asia. As former CIA officer Michael Scheuer, who led the Agency’s Osama bin Laden
      tracking unit (known as Alec Station) from 1996 to 1999 reported:
               Mohammed Jamal Khalifah, bin Laden’s brother-in-law, for example, once worked for the World
               Muslim League and then ran an IIRO branch in Manila in the early 1990s that Philippine military
               authorities have identified as a ‘conduit of Arab financiers for money to the Abu Sayyef [terrorist
               group].’ In June 2000, in fact, the chief of the Philippine military intelligence said that Islamic
               NGOs are still being used to fund the Moro insurgency. He also claimed bin Laden had transferred
               $3 million to the Moro Islamic Liberation Front (MILF) to assist its fight for an independent Islamic
               state in Mindanao.130

114          According to the CIA, Croatian authorities conducted a raid and detained Hossam
      Meawad Mohammad Ali, an Egyptian who served as the IIRO’s accountant. The Agency
      reported that the Macedonians shut the IIRO office in Skopje in March 1995, and noted
      Mohammad Jamal Khalifa’s ties to plots targeting the Pope and American airlines when he
      headed the IIRO office in Manila. “Another high-ranking [IIRO] official in the Philippines leads
      Hamas meetings,” the report stated, adding that “the majority of Hamas members in the
      Philippines are employed by the organization.”131

115           On August 3, 2006, the U.S. Treasury Department designated Abd al Hamid Sulaiman al-
      Mujil, the Executive Director of the IIRO Eastern Province branch in Saudi Arabia. According to
      Treasury, al-Mujil is commonly known as the “million dollar man,” a nod to his extensive
      funding of Islamist groups. His ties to Osama bin Laden, Abdallah Azzam, and Khaled Sheikh
      Mohammad made him a prime financier of al Qaeda operations. The U.S. Treasury Department
      revealed that, as a senior IIRO official, he also provided financial support to the Abu Sayyaf
      Group, the Islamic State’s East Asia province.132
116           According to the U.S. Treasury Department, the IIRO has assisted with recruitment of
      Islamic militants, transportation and logistics, lodging, and weapons, and it has acted as a liaison
      between extremist groups.133 The IIRO has also provided material support to al Qaeda.
      According to the UN Al Qaeda and Taliban Monitoring Group, the “IIRO, and some of it is
      constituent organizations, has also been used, knowingly or unknowingly, to assist in financing



      130
          Michael Scheuer, Through Our Enemies' Eyes: Osama bin Laden, Radical Islam, and the Future of America
      (Dulles: Brassey’s 2003), 41.
      131
          Unclassified 1996 CIA document, marked Fed-PEC0214474. See also Glenn Simpson, “U.S. Officials Knew of
      Ties Between Terror, Charities,” Wall Street Journal, May 9, 2003,
      https://www.wsj.com/articles/SB10524385762417300.
      132
          “Treasury Designated Director, Branches of Charity Bankrolling Al Qaida Network,” U.S. Department of the
      Treasury, August 3, 2006, https://www.treasury.gov/press-center/press-releases/Pages/hp45.aspx.
      133
          “Treasury Designated Director, Branches of Charity Bankrolling Al Qaida Network,” U.S. Department of
      Treasury, August 3, 2006, https://www.treasury.gov/press-center/press-releases/Pages/hp45.aspx.
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      al-Qa’ida.”134 In a report suggesting the listing of the IIRO, the monitoring group furthered,
      “Evidence produced recently in a Canadian court linked IIRO funding directly to Al-Jihad, a
      designated entity tied closely to al-Qaida and responsible for the bombing in 1998 of the
      American Embassies in Dar es Salaam ad Nairobi.”135 A declassified CIA report also indicated
      that IIRO funds directly supported six al Qaeda training camps in Afghanistan prior to 9/11.136
      After that date, Pakistan also identified and expelled some two dozen al-Qaida supporters who
      had been working for the IIRO-sponsored organizations in Pakistan.”137 Information released by
      the U.S. Treasury Department supports this finding. According to Treasury, in 2002, an IIRO
      office financed the establishment of training facilities that were used by al Qaeda associates.138
      On August 3, 2006, Stuart Levey, former Under Secretary for Terrorism and Financial
      Intelligence at Treasury, stated in the press release for the designation of the IIRO Philippines
      and Indonesia offices: “We have long been concerned about these IIRO offices; we are now
      taking public action to sever this link in the al Qaida network’s funding chain.”139
117           The IIRO has provided extensive support to Jemaah Islamiyya, the militant Southeast
      Asian organization tied to al Qaeda. According to U.S. Treasury Department, Abd Al Hamid
      Sulaiman Al-Mujil, Executive Director of an IIRO office who was named a specially designated
      individual, invited a Philippines-based JI supporter to travel to Saudi Arabia in 2004. This
      supporter used the guise of undertaking the hajj pilgrimage for his travel, and al-Mujil planned
      for him to carry cash back to the JI in the Philippines.140 Treasury also revealed that an IIRO
      office supported JI by providing assistance with recruitment of members, transportation and
      logistics, and provided a safe-haven.141 According to Southeast Asia expert and professor at
      Simmons College Zachary Abuza, “[A local charity organization called KOMPAK] immediately
      partnered with the Saudi IIRO.” He further stated, “[KOMPAK’s] aid won support for Jemaah
      Islamiyah and its paramilitary organizations such as Laskar Jundallah and Lskar Mujahidin.”

      134
          Excerpt of UN Al Qaeda and Taliban Monitoring Group Report, December 3, 2003, reprinted in “UN Al Qaida
      Monitoring Group Recommended UN listing of IIRO in December 2003,” Victor Comras, August 3, 2006.
      135
          Excerpt of UN Al Qaeda and Taliban Monitoring Group Report, December 3, 2003, reprinted in “UN Al Qaida
      Monitoring Group Recommended UN listing of IIRO in December 2003,” Victor Comras, August 3, 2006.
      136
          Unclassified 1996 CIA document, marked Fed-PEC0214474. See also Glenn Simpson, “U.S. Officials Knew of
      Ties Between Terror, Charities,” Wall Street Journal, May 9, 2003,
      https://www.wsj.com/articles/SB10524385762417300; David E. Kaplan, “How billions in oil money spawned a
      global terror network,” US News and World Report, December 7, 2003.
      137
          Excerpt of UN Al Qaeda and Taliban Monitoring Group Report, December 3, 2003, reprinted in “UN Al Qaida
      Monitoring Group Recommended UN listing of IIRO in December 2003,” Victor Comras, August 3, 2006.
      138
          “Treasury Designated Director, Branches of Charity Bankrolling Al Qaida Network,” U.S. Department of the
      Treasury, August 3, 2006, https://www.treasury.gov/press-center/press-releases/Pages/hp45.aspx.
      139
          “Treasury Designated Director, Branches of Charity Bankrolling Al Qaida Network,” U.S. Department of the
      Treasury, August 3, 2006, https://www.treasury.gov/press-center/press-releases/Pages/hp45.aspx.
      140
          “Treasury Designated Director, Branches of Charity Bankrolling Al Qaida Network,” U.S. Department of the
      Treasury, August 3, 2006, https://www.treasury.gov/press-center/press-releases/Pages/hp45.aspx.
      141
          “Treasury Designated Director, Branches of Charity Bankrolling Al Qaida Network,” U.S. Department of the
      Treasury, August 3, 2006, https://www.treasury.gov/press-center/press-releases/Pages/hp45.aspx.
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      Abuza also noted that Agus Dwikarna, the head of KOMPAK for South Sulawesi “...was also the
      regional branch officer for the IIRO…” According to Abuza, “There is some evidence that the
      Medical Emergency Relief Charity received funding from the Indonesian branch of the Saudi-
      funded IIRO.” MERC has additionally provided assistance to JI, according to Abuza, and
      produced two-well publicized jihadi videos for “fundraising purposes.”142
118            Hamas, the Palestinian terrorist group, has also benefited from IIRO support. In 1994,
      Osama bin Laden’s brother-in-law and IIRO member, Mohammed Jamal Khalifa, was reportedly
      detained with another IIRO leader in San Francisco. In his belongings were materials that
      discussed explosives, assassinations, military and jihad-related training; among these materials
      were information and contacts for Hamas and Palestinian Islamic Jihad.143 Also, following an
      Israeli raid on the Tulkarem charity (zakat) committee, authorities found that the IIRO had
      donated at least $280,000 to the Tulkarem charity committee and other Hamas linked
      organizations.144 According to a 2004 Israeli report, following a Saudi crackdown on charitable
      money transfers, including those from the IIRO, funding for Hamas all but dried up for a brief
      period of time.145 According to an unclassified CIA document released in 1996, in the
      Philippines, the IIRO employed “the majority of Hamas members,” and there, the Hamas
      meetings were led by a “high ranking” IIRO official.146
119            Furthermore, the IIRO’s Philippines office has been tied to funding the al Qaeda
      affiliated Abu Sayyaf Group. An excerpt from the 2006 UN al Qaeda and Taliban Monitoring
      Group report stated that “[t]he IIRO in the Philippines, reportedly served during the early 1990s
      as the coordinating centre for secessionist Islamic activities, and as late as 1996 channeled
      money to the Abu Sayyaf group, another designated entity.”147According to the U.S. Treasury




      142
          Zachary Abuza, “ Jemaah Islamiyah Adopts the Hezbollah Model: Assessing Hezbollah’s Influence,” Middle
      East Quarterly (Winter 2009), https://www.meforum.org/2044/jemaah-islamiyah-adopts-the-hezbollah-model.
      143
          Rohan Gunaratna, “Inside Al-Qaeda: Global Network of Terror” (New York: Columbia University Press, 2002),
      114.
      144
          “Documents Captured by the IDF: Large Sums of Money Transferred by Saudi Arabia to the Palestinians Are
      Used for Financing Terror Organizations (Particularly the Hamas) and Terrorist Activities (Including Suicide
      Attacks inside Israel),” Israel Defense Forces, May 3, 2002.
      145
          “IRFAN: A Hamas Front Organization Operating in Canada to Enlist Financial Support for Hamas Institutions in
      the Palestinian Authority-Administered Territories,” C.S.S. Special Information Bulletin, November 2004,
      https://www.imra.org.il/story.php?id=22905.
      146
          Unclassified 1996 CIA document, marked Fed-PEC0214474. See also Glenn Simpson, “U.S. Officials Knew of
      Ties Between Terror, Charities,” Wall Street Journal, May 9, 2003,
      https://www.wsj.com/articles/SB10524385762417300; David E. Kaplan, “How billions in oil money spawned a
      global terror network,” US News and World Report, December 7, 2003
      147
          Excerpt of UN Al Qaeda and Taliban Monitoring Group Report, December 3, 2003, reprinted in “UN Al Qaida
      Monitoring Group Recommended UN listing of IIRO in December 2003”, Victor Comras, August 3, 2006.
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      Department, this office has also served as a liaison to other extremist groups on behalf of the
      Abu Sayyaf Group.148

120           According to the U.S. Treasury Department, a former Abu Sayyaf Group member
      familiar with IIRO operations reported that the majority of the IIRO’s foreign funding was
      directed to terrorist groups. Several employees of the IIRO’s Philippines office were Abu Sayyaf
      Group members, including an Abu Sayyaf Group intelligence officer in the IIRO Philippines
      office. Many of the IIRO Philippines directors—Mohammed Jamal Khalifah, Abd al-Hadi
      Daguit and Mahmud Abd al-Jalil Afif—have used the organization to funnel money to the Abu
      Sayyaf Group.149 Mohammed Jamal Khalifah has contributed direct financial assistance to Abu
      Sayyaf Group leaders, including the deceased Aburajak Janjalani.150 Citing this material, Jimmy
      Gurule, former U.S. Treasury Department Undersecretary for Enforcement and former Justice
      Department Assistant Attorney General, concluded that “the International Islamic Relief
      Organization, a Saudi-based charity with a long history of facilitating fundraising for al Qaeda
      and affiliated terrorist organizations, has been a source of funding for the Abu Sayyaf Group.”151
121           Likewise, the IIRO’s Philippines office is tied to funding of the Philippines based Moro
      Islamic Liberation Front.152 According to a Wall Street Journal article, from November to
      December 2001, Philippine police arrested four Arabs associated with this group; one of these
      men, Mohammad Sabri, was an IIRO employee and directly linked to Mohammad Jamal
      Khalifa.153 According to an unclassified CIA document, Khalifa has been linked to Manila-based
      plots to target the Pope and U.S. airlines, although it is not specified which terrorist group
      attempted these actions.154
122          The IIRO is also linked to Egyptian Islamic Jihad. Mohammed al-Zawahiri, brother of al
      Qaeda leader Ayman al-Zawahiri, worked for the IIRO in Albania during the 1990s and helped



      148
          “Treasury Designated Director, Branches of Charity Bankrolling Al Qaida Network,” U.S. Department of the
      Treasury, August 3, 2006, https://www.treasury.gov/press-center/press-releases/Pages/hp45.aspx.
      149
          “Treasury Designated Director, Branches of Charity Bankrolling Al Qaida Network,” U.S. Department of the
      Treasury, August 3, 2006, https://www.treasury.gov/press-center/press-releases/Pages/hp45.aspx.
      150
          “Treasury Designated Director, Branches of Charity Bankrolling Al Qaida Network,” U.S. Department of the
      Treasury, August 3, 2006, https://www.treasury.gov/press-center/press-releases/Pages/hp45.aspx.
      151
          Jimmy Gurlue, Unfunding Terror: The Legal Response to the Financing of Global Terrorism (Northampton:
      Edward Elgar Publishing, 2008), 86.
      152
          Jay Solomon, “Manila Suspends Talks with Rebels After Allegations of al-Qaeda Links,” Wall Street Journal,
      March 12, 2002.
      153
          Jay Solomon, “Manila Suspends Talks with Rebels After Allegations of al-Qaeda Links,” Wall Street Journal,
      March 12, 2002.
      154
          Unclassified 1996 CIA document, marked Fed-PEC0214474. See also Glenn Simpson, “U.S. Officials Knew of
      Ties Between Terror, Charities,” Wall Street Journal, May 9, 2003,
      https://www.wsj.com/articles/SB10524385762417300; David E. Kaplan, “How billions in oil money spawned a
      global terror network”, US News and World Report, December 7, 2003
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      EIJ members land jobs as cover.155 Talaat Fouad Abdul Qasim, another EIJ leader and wanted in
      Egypt, had been the director of the IIRO in Peshawar; he helped fund Arab militants who fought
      alongside Afghani mujahedeen.156 In 1999, Mahmoud Jaballah, an IIRO employee in Canada,
      was linked to the Egyptian Islamic Jihad.157 The IIRO had earlier employed Mahmoud Jaballah
      in Saudi Arabia; he was later deported from Canada on the basis of his terrorist support and
      action.158
123           There have been other instances of IIRO support for terrorist action. In 1999, Indian
      police foiled a plot to blow up the U.S. consulates in Calcutta and Madras. The ringleader of this
      plot was Sayed Abu Nasir, an IIRO employee who was trained in Afghanistan.159 Additionally,
      the IIRO solicited funds to build a trauma clinic in Fallujah, Iraq. The IIRO oversaw the
      construction of the clinic, which was destroyed in 2004 by U.S. Marines because it was a haven
      for insurgent fighters.160
124           Furthermore, the IIRO has been linked to other groups that the CIA views as aiding
      terrorism. The MAK is one such group, as reported in an unclassified CIA document. The Qatar
      Charitable Society is also named in this report as being linked to IIRO. According to the report,
      the Qatar Charitable Society has extremist connections to Hamas. The report also linked the
      IIRO to the Saudi High Commission, which it claimed has provided support to Hamas and
      Algerian extremists.161

                 3. Al Haramain Islamic Foundation
125          Burr and Collins note that al Haramain “was founded in 1988 as a branch of MWL at its
            nd
      22 Session in Mecca.” It was endorsed by the Royal Family, they add, and supervised by the
      Saudi Ministry of Religious Affairs.162



      155
          J. Millard Burr and Robert O. Collins, Alms for Jihad: Charity and Terrorism in the Islamic World (Cambridge:
      Cambridge University Press), 36.
      156
          J. Millard Burr and Robert O. Collins, Alms for Jihad: Charity and Terrorism in the Islamic World (Cambridge:
      Cambridge University Press), 36.
      157
          Minister of Citizenship and Immigration v. Mahmoud Jaballah, Federal Court of Canada, Docket: Des-6-99,
      November 2, 1999. See also Laurie P. Cohen et al., “Bush's Financial War on Terrorism Includes Strikes at Islamic
      Charities,” Wall Street Journal, September 25, 2001.
      158
          Minister of Citizenship and Immigration v. Mahmoud Jaballah, Federal Court of Canada, Docket: Des-6-99,
      November 2, 1999. See also Laurie P. Cohen et al., “Bush's Financial War on Terrorism Includes Strikes at Islamic
      Charities,” Wall Street Journal, September 25, 2001.
      159
          Dexter Filkins, “Attacks on U.S. Mission Foiled, Indian Police Say,” Los Angeles Times, January 21, 1999.
      160
          Glenn R. Simpson, “US tracks Saudi bank favored by extremists,” Associated Press, July 26, 2007.
      161
          Unclassified 1996 CIA document, marked Fed-PEC0214474. See also Glenn Simpson, “U.S. Officials Knew of
      Ties Between Terror, Charities,” Wall Street Journal, May 9, 2003,
      https://www.wsj.com/articles/SB10524385762417300.
      162
          J. Millard Burr and Robert O. Collins, Alms for Jihad: Charity and Terrorism in the Islamic World (Cambridge:
      Cambridge University Press), 38
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126           In 1996, the CIA assessed that al Haramain was tied to the Egyptian Gama’at al-Islamiya
      terrorist group. Under the heading “support for extremist/terrorist activities,” the report noted al
      Haramain’s funding and support to “the Mujahideen Battalion in Zenica,” adding that the
      foundation’s office in Zagreb “has been raided often Croatian security for smuggling
      activities.”163

127          In March 2002, the governments of the United States and Saudi Arabia designated the
      Somali and Bosnian branches of the al Haramain Islamic Foundation “because these branches
      were diverting charitable funds to terrorism.”164 The press release announcing the action
      included additional information about these branches’ ties to terrorism:
               The branch offices of al Haramain in Somalia and Bosnia are clearly linked to terrorist financing.
               The Somalia office of al Haramain is linked to Usama bin Laden's al-Qaida network and Al-Itihaad
               al-Islamiya (AIAI), a Somali terrorist group. Al Haramain Somalia employed AIAI members and
               provided them with salaries through Al-Barakaat Bank, which was designated on November 7,
               2001 under E.O. 13224 because of its activities as a principal source of funding, intelligence and
               money transfers for Usama bin Laden.

               The Bosnia office of al Haramain is linked to Al-Gama'at Al-Islamiyya, an Egyptian terrorist group.
               Al-Gama'at Al-Islamiyya was designated on November 2, 2001 and it is a signatory to Usama bin
               Laden's Fatwah dated February 23, 1998, targeting Americans and their allies.

               Over the past few years, al Haramain Somalia has funneled money to AIAI by disguising funds as
               if they were intended for orphanage projects or Islamic school and mosque construction. The
               organization has also employed AIAI members and provided them with salaries through Barakaat
               Banks and Remittances, a subsidiary of Al-Barakaat Bank.

               Even after AIAI was named in the Annex to Executive Order 13224 on September 23, 2001, and
               subsequently designated by the United Nations under UNSCR 1333, al Haramain Somalia has
               continued to provide financial support to AIAI. In late December 2001, al Haramain Somalia was
               facilitating the travel of AIAI members in Somalia to Saudi Arabia where the AIAI members
               planned to apply for residency permits.165




      163
          Unclassified 1996 CIA document, marked Fed-PEC0214474. See also Glenn Simpson, “U.S. Officials Knew of
      Ties Between Terror, Charities,” Wall Street Journal, May 9, 2003,
      https://www.wsj.com/articles/SB10524385762417300.
      164
           “Fact Sheet: Designations of Somalia and Bosnia-Herzegovina Branches of Al-Haramain Islamic Foundation,”
      Office of Public Affairs, U.S. Department of the Treasury, March 11, 2002,
      http://fas.org/irp/news/2002/03/dot031102fact.html.
      165
          “Fact Sheet: Designations of Somalia and Bosnia-Herzegovina Branches of Al-Haramain Islamic Foundation,”
      Office of Public Affairs, U.S. Department of the Treasury, March 11, 2002,
      http://fas.org/irp/news/2002/03/dot031102fact.html.
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128       In January 2004, Washington and Riyadh jointly designated the al Haramain branches in
      Indonesia, Kenya, Tanzania, and Pakistan for providing financial, material, and logistical support
      to al Qaeda and other terrorist groups.166 The evidence was extensive:
            AL-HARAMAIN FOUNDATION (INDONESIA)
  128.1     x   In 2002, money purportedly donated by AHF for humanitarian purposes to non-profit organizations
                in Indonesia was possibly diverted for weapons procurement, with the full knowledge of AHF in
                Indonesia.

  128.2     x   Using a variety of means, AHF has provided financial support to al-Qaida operatives in Indonesia
                and to Jemaah Islamiyah (JI). According to a senior al-Qaida official apprehended in Southeast
                Asia, Omar al-Faruq, AHF was one of the primary sources of funding for al-Qaida network
                activities in the region. The U.S. has designated JI, and the 1267 Committee has included it on its
                list, because of its ties to al-Qaida. JI has committed a series of terrorist attacks, including the
                bombing of a nightclub in Bali on October 12, 2002 that killed 202 and wounded over 300.

            AL-HARAMAYN FOUNDATION (KENYA & TANZANIA)
  128.3     x   Information available to the US shows that AHF offices in Kenya and Tanzania provide support,
                or act for or on behalf of AIA and Al-Qaida. AIAI shares ideological, financial and training links
                with al-Qaida and financial links with several NGOs and companies, including AHF, which is used
                to transfer funds. AIAI also has invested in the "legitimate" business activities of AHF.

  128.4     x   As early as 1997, U.S. and other friendly authorities were informed that the Kenyan branch of AHF
                was involved in plotting terrorist attacks against Americans. As a result, a number of individuals
                connected to AHF in Kenya were arrested and later deported by Kenyan authorities.

  128.5     x   In August 1997, an AHF employee indicated that the planned attack against the U.S. Embassy in
                Nairobi would be a suicide bombing carried out by crashing a vehicle into the gate at the Embassy.
                A wealthy AHF official outside East Africa agreed to provide the necessary funds. Information
                available to the U.S. shows that AHF was used as a cover for another organization whose priorities
                include dislike for the U.S. Government’s alleged anti-Muslim stance and purposed U.S. support
                for Christian movements fighting Islamic countries.
  128.6     x   Also in 1997, AHF senior activities in Nairobi decided to alter their (then) previous plans to bomb
                the U.S. Embassy in Nairobi and instead sought to attempt the assassination of U.S. citizens. During
                this time period, an AHF official indicated he had obtained five hand grenades and seven
                "bazookas’ from a source in Somalia. According to information available to the U.S., these
                weapons were to be used in a possible assassination attempt against a U.S. official.

  128.7     x   Information available to the U.S. shows that a former Tanzanian AHF Director was believed to be
                associated with UBL and was responsible for making preparations for the advance party that



      166
        “Treasury Announces Joint Action with Saudi Arabia Against Four Branches of Al-Haramain In The Fight
      Against Terrorist Financing,” Office of Public Affairs, U.S. Department of the Treasury, January 22, 2004,
      https://www.treasury.gov/press-center/press-releases/Pages/js1108.aspx.
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             planned the August 7, 1998, bombings of the U.S. Embassies in Dar Es Salaam, Tanzania, and
             Nairobi, Kenya. As a result of these attacks, 224 people were killed.

128.8    x   Shortly before the dual-Embassy bombing attacks in Kenya and Tanzania, a former AHF official
             in Tanzania met with another conspirator to the attacks and cautioned the individual against
             disclosing knowledge of preparations for the attacks. Around the same time, four individuals led
             by an AHF official were arrested in Europe. At that time, they admitted maintaining close ties with
             EIJ and Gamma Islamiyah.

128.9    x   Wadih el-Hage, a leader of the East African al-Qaida cell and personal secretary to UBL, visited
             the Kenya offices of AHF before the1998 dual-embassy attacks. Searches conducted by authorities
             revealed that el-Hage possessed contact information for a senior AHF official who was head of
             AHF's Africa Committee, the overseeing authority for AHF's offices in Kenya and Tanzania.

128.10   x   In early 2003, individuals affiliated with AHF in Tanzania discussed the status of plans for an attack
             against several hotels in Zanzibar. The scheduled attacks did not take place due to increased security
             by local authorities, but planning for the attacks remained active.
128.11   x   Information made available to the U.S. as shows that AHF offices in Kenya and Tanzania provide
             support, or act for or on behalf of al-Qaida and AIM.

         AL-HARAMAIN FOUNDATION (PAKISTAN)
128.12   x   Sometime in 2000, an AHF representative in Karachi, Pakistan met with Zelinkhan Yandarbiev.
             The U.S. has designated Yandarbiev, and the1267 Committee has included him on its list because
             of his connections to al-Qaida. The AHF representative and Yandarbiev reportedly resolved the
             issue of delivery to Chechnya of Zenit missiles, Sting anti-aircraft missiles, and hand-held anti-
             tank weapons.
128.13   x   Before the removal of the Taliban from power in Afghanistan, the AHF in Pakistan supported the
             Taliban and other groups. It was linked to the UBL-financed and designated terrorist organization,
             Makhtab al-Khidemat (MK). In one instance, some time in 2000, the MK director instructed funds
             to be deposited in AHF accounts in Pakistan and from there transferred to other accounts.

128.14   x   At least two former AHF employees who worked in Pakistan are suspected of having al-Qaida ties.
             One AHF employee in Pakistan is detained at Guantanamo Bay on suspicion of financing al-Qaida
             operations. Another former AHF employee in Islamabad was identified as an alleged al- Qaida
             member who reportedly planned to carry out several devastating terrorist operations in the United
             States. In January 2001, extremists with ties to individuals associated with a fugitive UBL
             lieutenant were indirectly involved with a Pakistani branch of the AHF.
128.15   x   As of late 2002, a senior member of AHF in Pakistan, who has also been identified as a "bin Laden
             facilitator," reportedly operated a human smuggling ring to facilitate travel of al-Qaida members
             and their families out of Afghanistan to various other countries.
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      128.16 x     AHF in Pakistan also supports the designated terrorist organization, Lashkar E-Taibah (LET).167

129          In February 2004, U.S. federal agents raided the Oregon offices of al Haramain. The
         following day the U.S. Treasury Department blocked the group’s bank accounts pending
         investigation.168 Four months later, in June 2004, the U.S. Treasury Department designated five
         additional al Haramain branches—in Afghanistan, Albania, Bangladesh, Ethiopia, and The
         Netherlands—as well as Aqeel al Aqil, the founder and longtime leader of al Haramain and a
         suspected al Qaeda supporter. Once again, the press release provided detailed evidence of these
         entities’ ties to terrorism.169 In June 2008, the U.S. Treasury Department designated the entirety
         of the al Haramain Foundation, noting the group’s track record of evading sanctions and
         reconstituting in operations.170
130         Eleven branches of al Haramain around the world were similarly designated by the United
         Nations Security Council’s al Qaeda Sanctions Committee.171
131           Individuals related to al Haramain have also been linked to al Qaeda. For example, Sami Al-
         Hajj was a Guantanamo detainee from 2002 to 2008. According to the unclassified summary
         evidence presented at his July 2005 Combatant Status Review Board, Al-Hajj had a long history
         of ties to terrorist entities and personnel, including for an Iraqi businessman with reported “close
         ties to Usama Bin Laden.”172

  131.1        x   Al-Hajj worked as an executive secretary for the Abdul al-Latif al-Imran, the general manager of
                   the Union Beverage Company (UBC), a company “associated with Bosnia/Chechen mujahid.”

  131.2        x   Al-Hajj traveled to Azerbaijan at least eight times to courier money to the al-Haramain
                   foundation—an entity including on the United Nations terrorist list for ties to al Qaeda173 (see

         167
              “Treasury Announces Joint Action with Saudi Arabia Against Four Branches of Al-Haramain In The Fight
         Against Terrorist Financing,” Office of Public Affairs, U.S. Department of the Treasury, January 22, 2004,
          https://www.treasury.gov/press-center/press-releases/Pages/js1108.aspx.
         168
              “Treasury Announces Actions Against AL-Haramain,” Office of Public Affairs, U.S. Department of the
         Treasury, February 19, 2004, https://www.treasury.gov/press-center/press-releases/Pages/js1183.aspx.
         169
             “Additional Al-Haramain Branches, Former Leader Designated by Treasury as Al Qaida Supporters Treasury
         Marks Latest Action in Joint Designation with Saudi Arabia,” Office of Public Affairs, U.S. Department of the
         Treasury, June 2, 2004, https://www.treasury.gov/press-center/press-releases/Pages/js1703.aspx.
         170
             “Treasury Designates Al Haramain Islamic Foundation,” Office of Public Affairs, U.S. Department of the
         Treasury, June 18, 2008, https://www.treasury.gov/press-center/press-releases/Pages/hp1043.aspx.
         171
             “Al-Haramain Foundation (Union of the Comoros),” Al Qaeda Sanctions Committee Narrative Summary,
         October 30, 2009,
         https://www.un.org/securitycouncil/sanctions/1267/aq_sanctions_list/summaries/entity/al-haramain-foundation-
         %28union-of-the-comoros%29.
         172
              Summary of Evidence for Combatant Status Review Tribunal – AL HAJJ, Sami Mohy El Din Muhammed, 22
         October 2004, http://www.documentcloud.org/documents/76749-isn-345-sami-al-hajj-combatant-status-
         review.html#document/p1.
         173
              “Al-Haramain Islamic Foundation (Bosnia and Herzegovina)” (Narrative Summary of Reasons for Listing,
         United Nations, Security Council Committee Pursuant to Resolutions 1267 (1999) 1989 (2011) and 2253 (2015)
         Concerning Isil (Da'esh) Al-Qaida And Associated Individuals Groups Undertakings And Entities, October 30,
          Case 1:03-md-01570-GBD-SN Document 9250-1 Filed 07/31/23 Page 48 of 51
                                                                                                                44


              below)—on behalf of Omran. For example, Al-Hajj delivered $7,000 USD to al-Haramain in the
              winter of 1997, $13,000 USD in the winter of 1998, and an additional $13,000 in the summer of
              1999. In November 1999, he delivered $100,000 to an al-Haramain official.

  131.3   x   Al-Hajj was detained in Azerbaijan for the transport of $220,000 USD, which was destined for
              Chechen rebels and not humanitarian support as Al-Hajj had been told. In 2000, Al-Hajj
              attempted to reenter Azerbaijan but was detained and deported due to his alleged activities
              supporting Chechen rebels.

  131.4   x   While working at UBC, Al-Hajj met al Qaeda operative Mamdouh Mahmoud Salem.

  131.5   x   While Azerbaijan, Al-Hajj met Ashraf Abdulkarim Ayub who ran UBC’s juice distribution
              business and worked for the UN-designated Revival of Islamic Heritage Society (RIHS, see
              below) from 1994-1998. As of March 2003 Ashraf was under investigation for possible ties to
              terrorism.

  131.6   x   In December 2001, Al-Hajj was stopped by Pakistani security officials because his passport did
              not agree with Pakistani records.

  131.7   x   Al-Hajj was at the Afghan/Pakistan border because his name was on a border authority watch list.

132      Additional information about Al-Hajj came to light in the September 2007 unclassified
      summary of evidence for his administrative review board hearing.174
  132.1   x   Al-Hajj stated, according to the summary evidence that one of his responsibilities was to assist al-
              Haramain (see below) in delivering humanitarian goods to Baku, Azerbaijan.
  132.2   x   During multiple trips to Azerbaijan between 1996 and 1999, Al Hajj reportedly stated, he
              delivered a total of $233,000 USD to al Haramain.
  132.3   x   According to the unclassified summary of evidence, “the detainee [Al-Hajj] was a senior al Qaida
              operative and logistics expert.”

  132.4   x   UBC, Al-Hajj reportedly stated, was so powerful that “all charities working with Chechen
              Mujahedin used his boss’ Union Beverage Company to smuggle money and goods between the
              United Arab Emirates, Azerbaijan, and Chechnya.”

133       An earlier summary of evidence regarding Al-Hajj, from October 2004, added that “from
      1997 through 2000, the detainee [Al-Hajj] was responsible for financial and material aid for
      Chechen armed groups and foreign mercenaries operating in Northern Caucasus.” Al-Hajj was
      also said to have provided travel and document assistance for an Iraqi businessman with reported



      2009, https://www.un.org/sc/suborg/en/sanctions/1267/aq_sanctions_list/summaries/entity/al-haramain-islamic-
      foundation-(bosnia-and.
      174
          Unclassified Summary of Evidence for Administrative Review Board in the case of AL HAJJ, Sami Mohy El Din
      Muhammed, September 11, 2007, http://www.documentcloud.org/documents/76750-isn-345-sami-al-hajj-
      administrative-review-board.html#document/p1.
      Case 1:03-md-01570-GBD-SN Document 9250-1 Filed 07/31/23 Page 49 of 51




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                           EXHIBIT B
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                    EXPERT REBUTTAL REPORT OF DR. MATTHEW LEVITT

                 In re Terrorist Attacks on September 11, 2001, 03-md-1570 (GDB) (SN)
           Senior Fellow and Director of the Program on Counterterrorism & Intelligence at the
         Washington Institute for Near East Policy, and Adjunct Professor at Georgetown University



    I.    Scope of Work
1   I have been asked to review expert reports submitted by defendants’ counsel and to comment on
    a select few topics.
2   I previously submitted an expert report in this matter dated March 9, 2020 (the “First Report”). I
    will not repeat my First Report here, but incorporate it herein by reference in full. My First
    Report, along with my curriculum vitae attached as Exhibit 1 to that Report, discusses my prior
    publications, prior testimony, and relevant experience. I continue to be compensated for my time
    at a rate of $550.00 per hour.

3   To be clear, the following critique of defense expert reports should not be interpreted as a
    suggestion that different professionals examining issues germane to counter-terrorism, the
    history of al Qaeda, the September 11 attacks, terrorist financing, or organizational
    characteristics of terrorist organizations might construct different hypotheses and arrive at
    varying conclusions. However, in my view, some of defense experts’ statements and
    conclusions include mistaken assumptions, methodological error, and factual inaccuracies
    worthy of correction. Nothing here should be mistaken for personal animus of any kind—I know
    several defense experts personally, several more by reputation. Rather, I respectfully offer
    comment on several key points of professional disagreement.

4   I reserve the right to respond further to additional comments about my report, opinions,
    methodology, qualifications, and findings.

    II. Reliability of U.S. Government Reports
5   Defense experts call into question the reliability and probative value of various types of U.S.
    government reports. In fact, both because the authors of those reports have access to information
    that is not available to the wider public (along with the open source information available to
    academics and scholars), and because their written products go through such robust editing
    processes (and, depending on the type of product, legal review), U.S. government reports are
    uniquely reliable and authoritative.
6   U.S. government documents are generally regarded as authoritative, a category that is not limited
    to scholarly publications. One way to determine if a source is authoritative, for example, is to
    look at the publisher or sponsor of the publication. “For websites,” one academic source
    recommends, “look for the domain; .gov or .edu sites are more likely to contain unbiased
